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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


    Kevin Moitoso, Tim Lewis, Mary Lee Torline, and        Case No. 1:18-cv-12122-WGY
    Sheryl Arndt, individually and as representatives of
    a class of similarly situated persons, and on behalf
    of the Fidelity Retirement Savings Plan,

                          Plaintiffs,
    v.

    FMR LLC, the FMR LLC Funded Benefits
    Investment Committee, the FMR LLC Retirement
    Committee, Fidelity Management & Research
    Company, FMR Co., Inc., and Fidelity Investments
    Institutional Operations Company, Inc.,

                          Defendants.


                       CLASS ACTION SETTLEMENT AGREEMENT

         This Class Action Settlement Agreement, dated July 2, 2020 (the “Settlement
Agreement”), is made and entered into by and among: (i) Plaintiffs Kevin Moitoso, Tim Lewis,
Mary Lee Torline, and Sheryl Arndt (on behalf of themselves and each Class Member and the
Fidelity Retirement Savings Plan), by and through their counsel of record in the litigation, and
the Fidelity Retirement Savings Plan; and (ii) Defendants FMR LLC, the FMR LLC Funded
Benefits Investment Committee (“FBIC”), the FMR LLC Retirement Committee (“Retirement
Committee”), Fidelity Management & Research Company, FMR Co., Inc., and Fidelity
Investments Institutional Operations Company, Inc., by and through their counsel of record in
the litigation. 1 The Settlement Agreement is intended to fully, finally, and forever resolve,
discharge, and settle Plaintiffs’ Released Claims, subject to the approval of the Court and the
terms and conditions set forth in this Settlement Agreement.

                                            ARTICLE I

                                          DEFINITIONS

                1.1    “Action” means the civil action captioned Moitoso, et al. v. FMR LLC, et
al., Civil Action No. 1:18-cv-12122-WGY, pending in the United States District Court for the
District of Massachusetts.



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        Except as otherwise specified, all capitalized terms shall have the meanings set forth in
Article I of this Settlement Agreement.
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                 1.2      “Administrative Expenses” means all expenses incurred in the
administration of this Settlement Agreement, including but not limited to (a) all fees, expenses,
and costs associated with the production and dissemination of the Notices to Class Members and
related tax expenses (including taxes and tax expenses described in Section 4.6); (b) all expenses
incurred by the Settlement Administrator in administering and effectuating this settlement,
including all costs associated with the calculations pursuant to the Plan of Allocation; (c) all fees
and expenses associated with the Settlement Website and telephone support line described in
Article III; (d) all fees charged by the Settlement Administrator; and (e) all fees and expenses
charged by the Independent Fiduciary and Escrow Agent. All Administrative Expenses approved
by the Court and tax-related Administrative Expenses pursuant to Section 4.6 shall be paid from
the Gross Settlement Amount.

               1.3     “Alternate Payee” means a person, other than a Participant Class Member,
Former Participant Class Member, or Beneficiary, who is entitled to a benefit under the Plan as a
result of a Qualified Domestic Relations Order (“QDRO”), where the QDRO relates to a
Participant Class Member or Former Participant Class Member’s balance during the Class
Period.

               1.4    “Attorneys’ Fees and Costs” means the amount awarded by the Court as
compensation for the services provided by Class Counsel and the costs and expenses incurred by
Class Counsel in connection with the Action, including the investigation leading to it, which
shall be recovered from the Gross Settlement Amount.

               1.5   “Authorized Former Participant Class Member” means a Former
Participant Class Member who has submitted a completed, satisfactory Former Participant Class
Member Claim Form by the Claims Deadline set by the Court in the Preliminary Approval Order
and whose Former Participant Class Member Claim Form is accepted by the Settlement
Administrator.

                 1.6   “Average Account Balance” has the meaning ascribed to it in Section
5.1(b) herein.

                1.7     “Beneficiary” means a person who currently is entitled to receive a benefit
under the Plan that is derivative of the interest of a Participant Class Member or Former
Participant Class Member, other than an Alternate Payee. A Beneficiary includes, but is not
limited to, a spouse, surviving spouse, domestic partner, or child who currently is entitled to a
benefit.

              1.8     “CAFA Notice” means the notice required to be provided pursuant to the
Class Action Fairness Act, 28 U.S.C. § 1715.

                 1.9   “Claims” has the meaning ascribed to it in Section 1.42.

               1.10 “Claims Deadline” means a date that is no later than ten (10) calendar
days before the Fairness Hearing.

             1.11 “Class” means the following class, which tracks the class certified by the
Court on May 7, 2019 (ECF No. 83), and which is comprised of all participants and beneficiaries

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of the FMR LLC Profit Sharing Plan or the Fidelity Retirement Savings Plan who, during the
Class Period, (1) remained Plan participants or beneficiaries for any length of time, (2) ceased to
be employed by a participating employer before or during the period of time that they remained
in the Plan, and (3) did not receive any portion of the mandatory revenue credit contributed to the
Plan pursuant to § 5.1(e) of the 2014 Restatement of the Plan (as amended) and § 1.12(b)(3) of
the 2017 Adoption Agreement for use with the Fidelity Basic Plan Document No. 17 for the Plan
(as amended) issued by the Company in any Plan year or portion of a Plan year in which they
maintained a Plan account balance and were no longer employed by a participating employer.
Excluded from the class are Individual Board Members and Individual Committee Members.

                 1.12   “Class Counsel” means Nichols Kaster, PLLC, and Block & Leviton LLP.

                 1.13   “Class Member” means a member of the Class.

             1.14 “Class Period” means November 17, 2014 through the date of the Final
Approval Order, inclusive.

                 1.15   “Company” means FMR LLC.

              1.16 “Complaints” means the document filed in this Action at ECF No. 1 on
October 10, 2018; the document filed at ECF No. 31 on November 9, 2018; the document filed at
ECF No. 37 on January 10, 2019; the document filed at ECF No. 56 on March 25, 2019; and the
document filed at ECF No. 77 on May 2, 2019.

               1.17 “Confidentiality Order” means the Stipulated Protective Order entered in
the Action on January 15, 2019 (ECF No. 46).

              1.18      “Court” means the United States District Court for the District of
Massachusetts.

               1.19 “Defendants” means the Company, the FBIC, the Retirement Committee,
Fidelity Management & Research Company, FMR Co., Inc., and Fidelity Investments
Institutional Operations Company, Inc.

                 1.20   “Defendants’ Counsel” means Goodwin Procter LLP.

                 1.21 “Defendants’ Released Claims” means all claims, whether arising under
federal, state, or any other law, which have been, or could have been, asserted in the Action or in
any court or forum, by Defendants against the Named Plaintiffs or any Class Members, or their
attorneys (including Class Counsel), which arise out of the institution, prosecution or settlement
of the Action, except for claims to enforce the Settlement Agreement.

               1.22    “Entitlement Amount” means that portion of the Net Settlement Amount
payable to an individual Participant Class Member or Authorized Former Participant Class
Member, as determined according to the procedures described in Article V herein.

                 1.23   “ERISA” means the Employee Retirement Income Security Act of 1974,
as amended.

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               1.24 “Escrow Account” means an account at an established financial institution
agreed upon by the Parties that is established for the deposit of the Gross Settlement Amount and
amounts relating to it, such as income earned on the investment of the Gross Settlement Amount.

               1.25 “Escrow Agent” means Alerus Financial, an independent contractor to be
retained by Class Counsel and approved by the Court, or its designee, which will serve as escrow
agent for any portion of the Gross Settlement Amount deposited in or accruing in the Escrow
Account pursuant to this Settlement.

                1.26 “Fairness Hearing” means the hearing to be held before the Court pursuant
to Federal Rule of Civil Procedure 23(e) to determine whether the Settlement Agreement should
receive final approval by the Court.

                 1.27   “Final Approval” means the entry of the Final Approval Order.

              1.28 “Final Approval Order” means the order and final judgment of the Court
approving the Settlement, in substantially the form submitted in connection with Plaintiffs’
Motion for Final Approval of the Settlement.

               1.29    “Former Participant Class Member” means any Class Member who had a
Plan account with a balance greater than $0.00 at any point during the Class Period but who does
not have a Plan account with a balance greater than $0.00 as of the date of the Preliminary
Approval Order.

              1.30 “Former Participant Class Member Claim Form” means the form
described generally in Section 5.3 herein, substantially in the form attached as Exhibit 3 hereto.

              1.31 “Gross Settlement Amount” means the sum of twenty eight million five
hundred thousand U.S. dollars (USD $28,500,000.00), contributed to the Qualified Settlement
Fund as described in Article IV herein. The Gross Settlement Amount shall be the full and sole
monetary payment to the Named Plaintiffs, Class Members, and Class Counsel made on behalf
of Defendants in connection with this Settlement Agreement.

              1.32     “Independent Fiduciary” means the person or entity selected by the
Company to serve as an independent fiduciary with respect to the Settlement Agreement for the
purpose of rendering the determination described in Section 2.2 herein.

               1.33 “Individual Board Members” means members of the FMR LLC Board of
Directors during the Class Period.

             1.34 “Individual Committee Members” means members of the FBIC or the
Retirement Committee during the Class Period.

              1.35      “Named Plaintiffs” means Kevin Moitoso, Tim Lewis, Mary Lee Torline,
and Sheryl Arndt.

                1.36 “Net Settlement Amount” means the Gross Settlement Amount, plus and
interest or income earned on the Qualified Settlement Fund, minus: (a) all Attorneys’ Fees and

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Costs approved by the Court; (b) any Service Awards approved by the Court; (c) all
Administrative Expenses approved by the Court and tax-related Administrative Expenses; and
(d) a contingency reserve not to exceed an amount to be mutually agreed upon by the Parties and
approved by the Court that is set aside by the Settlement Administrator for: (1) Administrative
Expenses incurred before the Settlement Effective Date but not yet paid, and (2) Administrative
Expenses estimated to be incurred after the Settlement Effective Date but before the end of the
Settlement Period.

                1.37 “Notices” means the forms of Court-approved notices of this Settlement
Agreement that are disseminated to Class Members. The Parties shall propose that the Court
approve the forms of notice attached as Exhibits 1 and 2 hereto. The Notice to Former
Participant Class Members will include the Former Participant Class Member Claim Form, and
inform Former Participant Class Members of the Claims Deadline by which they must submit a
completed Former Participant Class Member Claim Form to the Settlement Administrator in
order to be eligible for a distribution pursuant to the Plan of Allocation.

               1.38 “Non-Rollover-Electing Authorized Former Participant” means an
Authorized Former Participant Class Member who opted on his or her Former Participant Class
Member Claim Form to receive his or her Entitlement Amount by check, or selected to receive
the Entitlement Amount by rollover but did not provide sufficient information for the Settlement
Administrator to effectuate this request, as described in Section 5.3(a)(i).

               1.39 “Participant Class Member” means any Class Member who had a Plan
account with a balance greater than $0.00 at any point during the Class Period, and, as of the date
of the Preliminary Approval Order, had a Plan account with a balance greater than $0.00.

             1.40 “Parties” means Named Plaintiffs (on behalf of themselves and each Class
Member and the Fidelity Retirement Savings Plan) and Defendants.

                 1.41   “Plan Document” has the meaning ascribed to it in Section 1.42(a).

                1.42    “Plaintiffs’ Released Claims” means any and all actual or potential
claims, actions, demands, rights, obligations, liabilities, damages, interest, attorneys’ fees,
expenses, costs, expert or consulting fees, and any other liability whatsoever or causes of action,
whether based on federal, state, local, statutory or common law or any other law, rule or
regulation, whether fixed or contingent, accrued or unaccrued, liquidated or unliquidated, at law
or in equity, matured or unmatured, and whether class, derivative, or individual in nature
(collectively, “Claims”), including both known Claims and Unknown Claims, against any of the
Released Parties, regardless of when the Class Member became a member of the Class:

                        (a) That in any way arise out of, relate to, are based on, or have any
connection with any of the allegations, acts, omissions, purported conflicts, representations,
misrepresentations, facts, events, matters, transactions or occurrences that were or could have
been asserted in the Action (including any assertion set forth in any of the Complaints, and in
any submissions made by Plaintiffs in connection with the Action or any other submission made
by the Plaintiffs, Class Members, or their expert witnesses or Class Counsel in connection with
the Action) or in any other complaint, action, or litigation, whether or not pleaded in the

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Complaints. The Plaintiffs’ Released Claims expressly include, but are not limited to any and all
claims that arise out of, relate to, are based on, or have any connection with: (1) the structure,
management, monitoring, servicing, administration, size and/or expenses of the Plan; (2) the
selection, monitoring, oversight, fees, expenses, share classes, numerosity, performance,
performance history (or absence of performance history) or any other attributes of the
investments available under the Plan, including the Plan’s self-directed brokerage window or
account; (3) the designation or failure to designate any investments as designated investment
alternatives in the Plan’s governing document (the “Plan Document”), and consequences of such
designation or failure to designate; (4) any alleged conflict of interest, self-dealing, or improper
reversion of funds with respect to the Plan; (5) the selection, monitoring, oversight, retention,
fees, expenses, performance of the Plan’s services or service providers, including without
limitation, administrative and/or recordkeeping services; (6) fees, costs, or expenses charged to,
paid, or reimbursed by, or authorized to be paid or reimbursed by the Plan, including any fees or
costs attributable to recordkeeping; (7) revenue sharing in connection with the Plan’s
investments; (8) any failure to capture, credit, offset or rebate recordkeeping offsets or revenue
credits in connection with the Plan; (9) the mandatory revenue credit paid to the Plan by the
Company pursuant to the Plan Document that approximates all revenue received by the
Company and its affiliates in connection with the Plan, and the allocation of such mandatory
revenue credit among Plan participants; (10) any disclosures, reports, or filings in connection
with the Plan; and/or (11) any assertions with respect to fiduciaries of the Plan, or the selection
or monitoring of those fiduciaries, in connection with the foregoing;

                     (b) that would be barred by res judicata based on the Court’s entry of
the Final Approval Order;

                     (c) that arise from the direction to calculate, the calculation of, and/or
the method or manner of the allocation of the Net Settlement Fund pursuant to the Plan Of
Allocation; or

                    (d)      that arise from the approval by the Independent Fiduciary of the
Settlement Agreement.

                Notwithstanding anything herein, the following shall not be included in the
definition of Plaintiffs’ Released Claims: (i) claims to enforce the Settlement Agreement, and (ii)
individual claims for denial of benefits from the Plan.

                 1.43   “Plan” means the Fidelity Retirement Savings Plan.

                1.44 “Plan Of Allocation” means the methodology for allocating and
distributing the Net Settlement Amount as described in Article V herein.

              1.45 “Preliminary Approval Order” means the order of the Court preliminarily
approving the Settlement Agreement, in substantially the form submitted in connection with
Named Plaintiffs’ motion for entry of Preliminary Approval Order.

             1.46 “PTE 2003-39” means U.S. Department of Labor Prohibited Transaction
Exemption 2003-39, 68 Fed. Reg. 75,632 (Dec. 31, 2003), as amended.


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               1.47 “Qualified Domestic Relation Order” means a judgment, decree, or order
(including the approval of a property settlement) that is made pursuant to state domestic relations
law (including community property law) and that relates to the provision of child support,
alimony payments, or marital property rights for the benefit of a spouse, former spouse, child, or
other dependent of a Participant Class Member or Former Participant Class Member and which
has been determined qualified pursuant to the Plan’s procedures.

               1.48 “Qualified Settlement Fund” means the interest-bearing settlement fund
account to be established and maintained by the Escrow Agent as described in Article IV herein.

                 1.49   “Recordkeeper” means Fidelity Investments Institutional Operations
Company, Inc.

                1.50 “Released Parties” means (a) each Defendant, Individual Board Member,
and Individual Committee Member; (b) each Defendant’s past, present, and future parent
corporation(s), subsidiaries, divisions, joint ventures, predecessors, successors, successors-in-
interest, and assigns, and any individual, partnership, corporation, governmental entity or any
other form of entity or organization that controls, is controlled by, or is under common control
with any of the foregoing; (c) with respect to (a) and (b) above, all of their affiliates, subsidiaries,
divisions, joint ventures, predecessors, successors, successors-in-interest, assigns, employee
benefit plan fiduciaries (with the exception of the Independent Fiduciary), administrators, service
providers (including their owners and employees), consultants, subcontractors, boards of
trustees, boards of directors, officers, trustees, directors, partners, agents, managers, members,
employees, representatives, attorneys, administrators, fiduciaries, insurers, co-insurers,
reinsurers, accountants, auditors, advisors, personal representatives, heirs, executors,
administrators, associates, and all persons acting under, by, through, or in concert with any of
them; and (d) the Plan and any and all administrators, fiduciaries, parties in interest, and trustees
of the Plan.

              1.51 “Rollover-Electing Authorized Former Participant Class Member” means
an Authorized Former Participant Class Member who opted on his or her Former Participant
Class Member Claim Form to receive his or her Entitlement Amount by rollover.

               1.52 “Service Award” means any incentive or service award awarded by the
Court to the Named Plaintiffs for their service as class representatives.

              1.53 “Settlement” means the settlement of the Action contemplated by this
Settlement Agreement.

              1.54 “Settlement Administrator” means Analytics Consulting LLC, an
independent contractor to be retained by Class Counsel and approved by the Court.

               1.55 “Settlement Agreement” means the compromise and resolution embodied
in this agreement and its exhibits.

                1.56 “Settlement Effective Date” means one business day following the later of
(a) the date upon which the time expires for filing or noticing any appeal of the Final Approval
Order; or (b) if there are any appeals, the date of dismissal or completion of any appeal, in a

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manner that finally affirms and leaves in place the Final Approval Order without any material
modifications, and all proceedings arising out of the appeal(s) (including, but not limited to, the
expiration of all deadlines for motions for reconsideration or rehearing or petitions for review
and/or certiorari, all proceedings ordered on remand, and all proceedings arising out of any
subsequent appeal(s) following decisions on remand).

               1.57 “Settlement Period” shall be from the Settlement Effective Date and
continuing for a period of nine months thereafter.

             1.58 “Settlement Website” means the internet website established by the
Settlement Administrator as described in Section 3.3 herein.

                1.59 “Unknown Claims” means any and all Plaintiffs’ Released Claims which
the Plaintiffs or the Class Members do not know or suspect to exist as of the Settlement Effective
Date, which if known might have affected their decision(s) with respect to the Settlement.

                                           ARTICLE II

                                  SETTLEMENT APPROVAL

                2.1    Preliminary approval by Court. On or before July 2, 2020, the Named
Plaintiffs, through Class Counsel, shall apply to the Court for entry of the Preliminary Approval
Order, in substantially the form attached hereto as Exhibit 4, which shall include, among other
provisions, a request that the Court:

                      (a) preliminarily approve this Settlement Agreement for purposes of
disseminating notice to the Class;

                       (b) approve the form and contents of the Notices (including the Former
Participant Class Member Claim Form to be sent to Former Participant Class Members) and hold
that mailing copies of the Notices to Class Members by first class mail, postage prepaid complies
fully with the requirements of Federal Rule of Civil Procedure 23, the United States Constitution,
and any other applicable law;

                        (c) preliminarily bar and enjoin the institution and prosecution of any
Plaintiffs’ Released Claims against any Released Parties by Class Members and their respective
heirs, Beneficiaries, executors, administrators, estates, past and present partners, officers,
directors, agents, attorneys, predecessors, successors, and assigns, pending final approval of this
Settlement Agreement, even if any Class Member may thereafter discover facts in addition to or
different from those which the Class Members or Class Counsel now know or believe to be true
with respect to the Action and Plaintiffs’ Released Claims;

                       (d) provide that, pending final determination of whether the Settlement
Agreement should be approved, no Class Member may directly, through representatives, or in
any other capacity, commence any action or proceeding in any court or tribunal asserting any of
Plaintiffs’ Released Claims against the Defendants, the Released Parties, or the Plan;



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                       (e) set a deadline of no later than ten (10) calendar days before the
Fairness Hearing by which each Former Participant Class Member must file a Former Class
Member Participant Claim Form with the Settlement Administrator in order to be considered for
a distribution pursuant to the Plan of Allocation;

                      (f) provide that Class Members may object to the Settlement
Agreement prior to the Fairness Hearing according to a designated schedule;

                       (g) schedule a Fairness Hearing to (1) review comments and/or
objections regarding this Settlement Agreement, (2) consider the fairness, reasonableness, and
adequacy of this Settlement Agreement, (3) consider whether the Court should issue a Final
Approval Order approving this Settlement Agreement, awarding any Attorneys’ Fees and Costs,
Administrative Expenses, and Service Awards, and dismissing this Action with prejudice, and
(4) consider such other matters as the Court may deem appropriate;

                      (h) provide that any objections to any aspect of the Settlement
Agreement shall be heard, and any papers submitted in support of said objections shall be
considered, by the Court at the Fairness Hearing if they have been timely sent to Class Counsel
and Defendants’ Counsel. To be timely sent, the objection and any supporting documents must
be sent to Class Counsel and Defendants’ Counsel at least twenty-one (21) calendar days prior to
the scheduled Fairness Hearing;

                      (i) provide that Class Counsel shall file any objections to any aspect of
the Settlement with the Court as part of their motion for Final Approval of the Settlement; and

                     (j) provide that any party may file a response to an objection by a Class
Member at least seven (7) calendar days before the Fairness Hearing.

                2.2     Review by Independent Fiduciary. The Company shall, in its sole
discretion, select and retain the Independent Fiduciary, on behalf of the Plan, to determine
whether to approve and authorize the settlement of Plaintiffs’ Released Claims on behalf of the
Plan.

                       (a) The Independent Fiduciary shall comply with all relevant
requirements set forth in PTE 2003-39.

                       (b) The Independent Fiduciary shall notify the Company of its
determination in writing and in accordance with PTE 2003-39, which notification shall be
delivered no later than thirty (30) calendar days before the Fairness Hearing. The Company will
provide Class Counsel with a copy of the Independent Fiduciary’s written notification no later
than five (5) business days before the deadline to move for Final Approval of the Settlement, for
the purpose of submitting the Independent Fiduciary’s written notification to the Court in
connection with the Final Approval process.

                      (c) If the Independent Fiduciary disapproves or otherwise does not
authorize the Settlement Agreement or refuses to execute the release on behalf of the Plan, the
Defendants (and only the Defendants) may (but need not) terminate the Settlement Agreement.


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                    (d) The Parties shall comply with reasonable requests for information
made by the Independent Fiduciary.

                      (e) All fees and expenses associated with the Independent Fiduciary’s
retention and determination shall be considered Administrative Expenses.

                2.3    Final approval by Court. No later than fourteen (14) calendar days before
the Fairness Hearing, or by such other deadline as specified by the Court, Class Counsel shall
apply to the Court for entry of the Final Approval Order, which shall include, among other
provisions, a request that the Court:

                      (a) dismiss the Action with prejudice and without costs, except as
contemplated by this Settlement Agreement;

                     (b) decree that neither the Final Approval Order nor this Settlement
Agreement constitutes an admission by any Defendant or Released Party of any liability or
wrongdoing whatsoever;

                     (c) bar and enjoin all Class Members from asserting any of Plaintiffs’
Released Claims against any of the Released Parties;

                        (d) determine that this Settlement Agreement is entered into in good
faith and represents a fair, reasonable, and adequate settlement that is in the best interests of the
Class Members; and

                       (e) preserve the Court’s continuing and exclusive jurisdiction over the
Parties and all Class Members to administer, construe, and enforce this Settlement Agreement in
accordance with its terms for the mutual benefit of the Parties, but without affecting the finality
of the Final Approval Order.

                                           ARTICLE III

                              SETTLEMENT ADMINISTRATION

                 3.1     CAFA Notice. No later than ten (10) calendar days after the Named
Plaintiffs’ filing of this Settlement Agreement and motion for entry of the Preliminary Approval
Order with the Court, the Settlement Administrator shall provide appropriate notice of this
Settlement Agreement to the Attorney General of the United States and to the Attorneys General
of all states in which Class Members reside, as specified in 28 U.S.C. § 1715(b). The costs of
such notice shall be considered an Administrative Expense. Upon completing such notice, the
Settlement Administrator shall provide written notice to Class Counsel and Defendants’ Counsel.

                 3.2   Notice to Class Members.

                       (a) Subject to the Confidentiality Order, the Company shall, upon
request of the Settlement Administrator and at least 14 days before the deadline for issuance of
the Notices, produce to the Settlement Administrator names and last known addresses as they
appear in the Company’s records for all Class Members, as well as a list of Participant Class

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Members and Former Participant Class Members, for the purpose disseminating the Notices to
Class Members as provided in Section 3.2(b) below. The Company shall provide any other
information reasonably and timely requested by the Settlement Administrator for purposes of
issuance of the Notices, but shall not be otherwise obligated to assist with communications to the
Class Members.

                                 (i) The Settlement Administrator shall be bound by the
Confidentiality Order and any further non-disclosure or security protocol jointly required
by the Parties, set forth in writing to the Settlement Administrator.

                             (ii) The Settlement Administrator shall use the data provided by
the Company and the Plan’s recordkeeper solely for the purpose of meeting its obligations as
Settlement Administrator, and for no other purpose.

                             (iii) The Parties shall have the right to approve a written protocol
to be provided by the Settlement Administrator concerning how the Settlement Administrator
will maintain and store information provided to it in order to ensure that reasonable and
necessary precautions are taken to safeguard the privacy and security of such information.

                             (iv) Both sides shall have equal access to information held by the
Settlement Administrator given that such information is necessary to administer this Settlement
consistent with Class Counsel's obligation to do so; however, such information shall be kept in
strict confidence by Class Counsel and subject to the Confidentiality Order.

                             (v) Class Counsel and their agents shall use any information
provided by the Company in connection with this Settlement Agreement solely for the purpose
of providing the Notice and administering this Settlement and for no other purpose.

                      (b) No later than thirty-five (35) calendar days after the entry of the
Preliminary Approval Order, or by such other deadline as specified by the Court, the Settlement
Administrator shall send the Notices by first-class mail, postage prepaid to Class Members.

                        (c) The Notices shall be in the form approved by the Court, which shall
be in substantially the form attached as Exhibit 1 and 2 hereto. The Notice to Former Participant
Class Members will include the Former Participant Class Member Claim Form.

                      (d) A Notice shall be sent to the last known address of each Class
Member provided by the Recordkeeper (or its designee), unless an updated address is obtained
by the Settlement Administrator through its efforts to verify the last known address provided by
the Recordkeeper (or its designee).

                       (e) The Settlement Administrator shall use commercially reasonable
efforts to locate any Class Member whose Notice is returned and mail such Notices to those
Class Members one additional time.

                      (f) The Settlement Administrator shall post a copy of the Notices and
the Former Participant Class Member Claim Form on the Settlement Website.


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                 3.3   Settlement Website.

                        (a) No later than thirty-five (35) calendar days after the entry of the
Preliminary Approval Order, the Settlement Administrator shall establish the Settlement
Website. The Settlement Administrator shall maintain the Settlement Website until no later than
one year after the Settlement Effective Date or thirty (30) calendar days after the receipt of the
notice(s) referenced in Section 5.5, whichever is earlier, at which point the Settlement
Administrator shall take down the Settlement Website.

                       (b) The Settlement Website shall contain a copy of the Notices, Former
Participant Class Member Claim Form, and relevant case documents, including but not limited to
a copy of the operative Fourth Amended Complaint (ECF No. 77) and all documents filed with
the Court in connection with the Settlement. No other information or documents will be posted
on the Settlement Website unless agreed to in advance by the Parties in writing.

                        (c) The Settlement Website shall also include a toll-free telephone
number and mailing address through which Settlement Class Members may contact the
Settlement Administrator (or its designee) directly. With approval and input from Class Counsel
and Defendants’ Counsel, the Settlement Administrator shall develop a question-and-answer
script for use with callers to the toll-free telephone number.

               3.4     Distribution of Net Settlement Amount. Within fourteen (14) calendar
days of the Final Approval Order, the Company shall use reasonable efforts to cause the
Recordkeeper (or its designee) to provide to the Settlement Administrator all information
necessary to implement the Plan of Allocation, as well as an updated list of Participant Class
Members and Authorized Former Participant Class Members prior to the distribution, so as to
identify any such participants who have taken a full distribution from their Plan account and no
longer have a Plan account with a balance greater than $0.00. Following receipt of this
information, the Settlement Administrator shall distribute the Net Settlement Amount to
Participant Class Members and Authorized Former Participant Class Members in accordance
with the Plan of Allocation as described in Article V herein.

               3.5     Maintenance of records. The Settlement Administrator shall maintain
reasonably detailed records of its activities carried out under this Settlement Agreement. The
Settlement Administrator shall maintain all such records as required by applicable law in
accordance with its business practices and provide same to Class Counsel and Defendants’
Counsel upon their request. The Settlement Administrator shall provide such information as may
reasonably be requested by Named Plaintiffs, Defendants, Class Counsel, or Defendants’
Counsel relating to the administration of the Settlement Agreement.

                3.6     No liability. Defendants, Individual Board Members, Individual
Committee Members, Defendants’ Counsel, and Defendant Released Parties shall have no
responsibility for, interest in, or liability whatsoever, with respect to:

                       (a)   any act, omission, or determination of the Settlement Administrator;

                       (b) any act, omission, or determination of Class Counsel or their
designees or agents in connection with the administration of the Settlement Agreement;
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                         (c)   the management, investment, or distribution of the Qualified
Settlement Fund; or

                      (d) the determination, administration, calculation, verification,
confirmation or payment of any claims asserted against the Qualified Settlement Fund. The
Defendants’ responsibility with respect to the amounts to be paid pursuant to this Settlement
Agreement is limited to its responsibility to cause payments to be made to the Qualified
Settlement Fund as set forth in Section 4.2.

                                           ARTICLE IV

                     ESTABLISHMENT OF QUALIFIED SETTLEMENT FUND

               4.1      Establishment of the Qualified Settlement Fund. No later than ten (10)
business days after entry of the Preliminary Approval Order, the Escrow Agent shall establish an
escrow account. The Parties agree that the escrow account is intended to be, and will be, an
interest-bearing Qualified Settlement Fund within the meaning of U.S. Department of Treasury
Regulation § 1.468B-1 (26 C.F.R. § 1.468B-1). In addition, the Escrow Agent timely shall make
such elections as necessary or advisable to carry out the provisions of this paragraph, including
the “relation-back election” (as defined in 26 C.F.R. § 1.468B-1(j)(2)) back to the earliest
permitted date. Such elections shall be made in compliance with the procedures and
requirements contained in such regulations. It shall be the responsibility of the Escrow Agent to
prepare and deliver, in a timely and proper manner, the necessary documentation for signature by
all necessary parties, and thereafter to cause the appropriate filing to occur.

               4.2      Funding of the Qualified Settlement Fund. In consideration of all the
promises and agreements set forth in the Settlement Agreement, the Company will cause its
insurers to contribute the Gross Settlement Amount to the Qualified Settlement Fund. No other
Defendant shall have any obligation to contribute financially to the Qualified Settlement Fund or
any other Settlement-related expenses. The Company shall cause its insurers to contribute the
Gross Settlement Amount to the Qualified Settlement Fund, and this funding, in the aggregate,
together with any interest and investment earnings thereon, shall constitute the Qualified
Settlement Fund:

                        (a) No later than twenty-eight (28) calendar days after the later of (i) the
Preliminary Approval Order is entered, or (ii) the escrow account described in Section 4.1 is
established and the Escrow Agent shall have furnished to Defendants in writing the escrow
account name, IRS W-9 form, and all necessary wiring instructions, the Company shall cause its
insurers to deposit one hundred thousand U.S. dollars (USD $100,000.00) of the Gross
Settlement Amount into the Qualified Settlement Fund to fund any Administrative Expenses that
arise before the entry of the Final Approval Order.

                      (b) No later than thirty (30) calendar days after entry of the Final
Approval Order, the Company shall cause its insurers to deposit the remaining portion of the
Gross Settlement Amount (twenty eight million, four hundred thousand U.S. dollars (USD
$28,400,000.00)) into the Qualified Settlement Fund.


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                4.3    Notwithstanding anything to the contrary in this Settlement Agreement, in
no event shall the Company, its insurer(s), or any of the Defendants be required to make
payments or incur any expenses in excess of the Gross Settlement Amount. The Gross
Settlement Amount shall be the only amount paid by the Defendants and/or their insurer(s) under
this Settlement Agreement, and the Defendants and their insurer(s) shall not be obligated to
make any other payments under this Settlement Agreement or in connection with this Settlement
including but not limited to any payments that any of the Named Plaintiffs or Class Members
may claim they are entitled to under the Plans as a result of this Settlement or any Named
Plaintiffs’ or Class Members’ recovery under this Settlement.

                 4.4    Qualified Settlement Fund administrator. For the purpose of § 468B of
the Internal Revenue Code of 1986, as amended (26 U.S.C. § 468B) and the regulations
promulgated thereunder, the administrator of the Qualified Settlement Fund shall be the Escrow
Agent. The Escrow Agent, or the Settlement Administrator on its behalf, shall timely and
properly cause to be filed all informational and other tax returns necessary or advisable with
respect to the Gross Settlement Amount (including without limitation applying for a taxpayer
identification number for the Qualified Settlement Fund and filing the returns described in 26
C.F.R. § 1.468B-2(k)). Such returns, as well as the election described in Section 4.1, shall be
consistent with this Article and, in all events, shall reflect that all taxes (including any estimated
taxes, interest, or penalties) on the income earned by the Gross Settlement Amount shall be
deducted and paid from the Gross Settlement Amount as described in Section 4.5 herein.

                4.5    Investment of the Qualified Settlement Fund. The Escrow Agent shall
invest the Qualified Settlement Fund in short-term United States agency or Treasury securities or
other instruments backed by the full faith and credit of the United States Government or an
agency thereof, or fully insured by the United States Government or an agency thereof, and shall
reinvest the proceeds of these investments as they mature in similar instruments at their then-
current market rates.

                4.6      Taxes on the income of the Qualified Settlement Fund. All taxes on any
income of the Qualified Settlement Fund and expenses and costs incurred in connection with the
taxation of the Qualified Settlement Fund (including, without limitation, expenses of tax
attorneys and accountants) are Administrative Expenses and shall be timely paid by the Escrow
Agent out of the Qualified Settlement Fund. The Escrow Agent, or the Settlement Administrator
on its behalf, shall be responsible for making provision for the payment from the Qualified
Settlement Fund of all taxes and tax expenses, if any, owed with respect to the Qualified
Settlement Fund and for all tax reporting, remittance, and/or withholding obligations, if any, for
amounts distributed from it. Defendants, Individual Board Members, Individual Committee
Members, Defendants’ Counsel, and Class Counsel have no responsibility or any liability for any
taxes or tax expenses owed by, or any tax reporting or withholding obligations, if any, of the
Qualified Settlement Fund. The Escrow Agent shall be obligated (notwithstanding anything
herein to the contrary) to withhold from distribution to any Class Member any funds necessary to
pay such amounts, including the establishment of adequate reserves for any taxes and tax
expenses (as well as any amounts that may be required to be withheld under Treas. Reg.
§ 1.468B-2(1)(2)); neither Defendants, Defendants’ Counsel, nor Class Counsel are responsible
nor shall they have any liability therefor. The Parties agree to cooperate with the Escrow Agent,


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each other, and their tax attorneys and accountants to the extent reasonably necessary to carry out
the provisions of this Article IV.

               4.7     The Escrow Agent shall not disburse the Qualified Settlement Fund or any
portion except as provided in this Settlement Agreement, in an order of the Court, or in a
subsequent written stipulation between Class Counsel and Defendants’ Counsel. Subject to the
orders of the Court, the Escrow Agent is authorized to execute such transactions as are consistent
with the terms of this Settlement Agreement.

                4.8    After the Settlement Effective Date, the Gross Settlement Amount will be
distributed from the Qualified Settlement Fund as follows: First, within five (5) business days of
the Settlement Effective Date, all Administrative Expenses approved by the Court shall be paid.
Second, within twenty-one (21) calendar days of the Settlement Effective Date, (a) any Service
Awards awarded by the Court shall be paid; (b) all Attorneys’ Fees and Costs approved by the
Court shall be paid to Class Counsel; and (c) the Net Settlement Amount will be distributed
pursuant to the Plan of Allocation. Pending final distribution of the Net Settlement Amount in
accordance with the Plan of Allocation, the Escrow Agent will maintain the Qualified Settlement
Fund. A contingency reserve not to exceed an amount to be mutually agreed upon by the Parties
and approved by the Court shall be set aside by the Settlement Administrator for: (1)
Administrative Expenses incurred before the Settlement Effective Date but not yet paid, (2)
Administrative Expenses estimated to be incurred after the Settlement Effective Date but before
the end of the Settlement Period.

               4.9     The Escrow Agent, or the Settlement Administrator on its behalf, shall be
responsible for making provision for the payment from the Qualified Settlement Fund of all taxes
and tax expenses, if any, owed with respect to the Qualified Settlement Fund and for all tax
reporting, remittance, and/or withholding obligations, if any, for amounts distributed from it.
Defendants, Defendants’ Counsel, and Class Counsel have no responsibility or any liability for
any taxes or tax expenses owed by, or any tax reporting or withholding obligations, if any, of the
Qualified Settlement Fund.

                4.10 No later than February 15 of the year following the calendar year in which
the Company, its insurers, or agents make a transfer to the Qualified Settlement Fund pursuant to
the terms of this Article IV, the Company, its insurers, or agents shall timely furnish a statement
to the Escrow Agent, or the Settlement Administrator on its behalf, that complies with Treas.
Reg. § 1.468B-3(e)(2), which may be a combined statement under Treas. Reg. § 1.468(e)(2)(ii),
and shall attach a copy of the statement to their federal income tax returns filed for the taxable
year in which the Company, its insurers, or agents make a transfer to the Qualified Settlement
Fund.

                                          ARTICLE V

                                   PLAN OF ALLOCATION

              5.1   Calculation of payments to individual Participant Class Members and
Authorized Former Participant Class Members. Payments to each Participant Class Member and


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Authorized Former Participant Class Member shall be calculated by the Settlement
Administrator as follows, based on information provided by the Recordkeeper:

                       (a) Subject to the Confidentiality Order, the Company shall produce to
the Settlement Administrator the information required by Sections 3.2(a) and 3.4 as set forth in
said Sections, or any other information reasonably and timely requested by the Settlement
Administrator for purposes of administering the Settlement. The Company shall not be
otherwise obligated to assist with distributions to Authorized Former Participant Class Members.

                      (b) For each Participant Class Member and Authorized Former
Participant Class Member, the Settlement Administrator shall determine an Average Account
Balance, defined as follows:

                              Each Participant Class Member and Authorized Former Participant
                              Class Member’s average, aggregate quarter-ending account balance
                              invested in the Plan for the period of November 17, 2014 to June 30,
                              2020. 2

                       (c) The Settlement Administrator shall determine each Participant Class
Member’s and Authorized Former Participant Class Member’s Entitlement Amount by
calculating each individual’s pro rata share of the Net Settlement Amount, based on his or her
Average Account Balance compared to the sum of all Participant Class Members’ and
Authorized Former Participant Class Members’ Average Account Balances.

                      (d) The aggregate of all Entitlement Amounts may not exceed the Net
Settlement Amount. In the event that the Settlement Administrator determines that aggregate
monetary payment pursuant to the Plan of Allocation would exceed the Net Settlement Amount,
the Settlement Administrator is authorized to make such pro rata changes as are necessary to
ensure that the aggregate monetary payment pursuant to the Plan Of Allocation does not exceed
the Net Settlement Amount.


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    Mathematically stated, the Average Account Balance shall be calculated as follows:
(Q4 2014 Account Balance * 45/92) + (Q1 2015 Account Balance) + (Q2 2015 Account
Balance) + (Q3 2015 Account Balance) + (Q4 2015 Account Balance) + (Q1 2016 Account
Balance) + (Q2 2016 Account Balance) + (Q3 2016 Account Balance) + (Q4 2016 Account
Balance) + (Q1 2017 Account Balance) + (Q2 2017 Account Balance) + (Q3 2017 Account
Balance) + (Q4 2017 Account Balance) + (Q1 2018 Account Balance) + (Q2 2018 Account
Balance) + (Q3 2018 Account Balance) + (Q4 2018 Account Balance) + (Q1 2019 Account
Balance) + (Q2 2019 Account Balance) + (Q3 2019 Account Balance) + (Q4 2019 Account
Balance) + (Q1 2020 Account Balance) + (Q2 2019 Account Balance)
Divided by
22.49 quarters during the Class Period.



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                 5.2   Payments to Participant Class Members.

                     (a) Participant Class Members will not be required to submit a Former
Participant Class Member Claim Form to receive a settlement payment.

                       (b) Upon completing the calculation of each Participant Class Member
and Authorized Former Participant Class Member’s Entitlement Amount and no later than
fourteen (14) calendar days following the Settlement Effective Date, the Settlement
Administrator shall provide the Company (or its designee), Class Counsel, Defendants’ Counsel,
and the Recordkeeper information in a mutually agreeable format concerning each Participant
Class Member’s Entitlement Amount, and any other information requested by the Company or
the Recordkeeper as necessary to effectuate this Article.

                       (c) No later than seven (7) calendar days after completing the steps
described in Section 5.2(b) herein and upon written notice to the Company, Defendants’
Counsel, and the Recordkeeper, the Settlement Administrator shall effect a transfer from the
Qualified Settlement Fund to the Plan of all monetary payments payable to Participant Class
Members. The Recordkeeper shall thereafter credit the individual Plan account of each
Participant Class Member in an amount equal to that individual’s Entitlement Amount.

                        (d) Each Participant Class Member’s Entitlement Amount shall be
invested in accordance with and in proportion to such Participant Class Member’s investment
elections then on file for new contributions to his or her Plan account. If the Participant Class
Member does not have an investment election on file, then such individual shall be deemed to
have directed payment of his or her Entitlement Amount to be invested in the Plan’s qualified
default investment alternative, as defined in 29 C.F.R. § 2550.404c-5.

                       (e) If, as of the date on which the Recordkeeper credits the individual
Plan account of each Participant Class Member with his or her Entitlement Amount, an
individual believed to be a Participant Class Member no longer has a Plan account balance
greater than $0.00, he or she will be treated as a Non-Rollover-Electing Authorized Former
Participant Class Member for purposes of the settlement distribution only and will receive his or
her payment from the Settlement Administrator in the form of a check as described in Section
5.3(a)(ii). Such individuals need not complete a Former Participant Class Member Claim Form.

                 5.3   Payments to Authorized Former Participant Class Members.

                       (a) Each Authorized Former Participant Class Member (or the
Beneficiaries or Alternate Payees of Authorized Former Participant Class Members) will have
the opportunity to elect a tax-qualified rollover of his or her Entitlement Amount to an individual
retirement account or other eligible employer plan, which he or she has identified on the Former
Participant Class Member Claim Form, provided that the Authorized Former Participant Class
Member supplies adequate information to the Settlement Administrator to effect the rollover.
Payments to each Authorized Former Participant Class Member shall depend on whether each is
a Rollover-Electing Authorized Former Participant Class Member or a Non-Rollover-Electing
Authorized Former Participant Class Member:



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                                 (i) Rollover-Electing Authorized Former Participant Class
Members. Upon completing the calculation of each Participant Class Member and Authorized
Former Participant Class Member’s Entitlement Amount and no later than twenty-one (21)
calendar days following the Settlement Effective Date, the Settlement Administrator shall effect
a rollover from the Qualified Settlement Fund to the individual retirement account or other
eligible employer plan elected by each Rollover-Electing Authorized Former Participant Class
Member in his or her Former Participant Class Member Claim Form, if the conditions for such
rollover are satisfied and any associated paperwork necessary to transfer such Entitlement
Amount by rollover have been provided. If the Settlement Administrator is unable to effectuate
the rollover instructions of any Rollover-Electing Authorized Former Participant Class Member
as provided in his or her Former Participant Class Member Claim Form, he or she will be treated
as a Non-Rollover-Electing Authorized Former Participant Class Member.

                              (ii) Non-Rollover-Electing Authorized Former Participant Class
Members. Upon completing the calculation of each Participant Class Member and Authorized
Former Participant Class Member’s Entitlement Amount and no later than twenty-one (21)
calendar days following the Settlement Effective Date, the Settlement Administrator shall issue a
check from the Qualified Settlement Fund to each Non-Rollover-Electing Authorized Former
Participant Class Member, in the amount of each Authorized Former Participant Class Member’s
Entitlement Amount (less any withholdings).

                 5.4   Payments to Beneficiaries and Alternate Payees.

                        (a) Beneficiaries of Participant Class Members that are entitled to
receive all or a portion of a Participant Class Member’s Entitlement Allocation under this Article
shall receive such settlement payments in the form of a check issued by the Settlement
Administrator. Beneficiaries of Former Participant Class Members that are entitled to receive all
or a portion of a Former Participant Class Member’s Entitlement Allocation under this Article
will receive such settlement payments under the methods described in Section 5.3 for Former
Participant Class Members.

                         (b) Alternate Payees of Participant Class Members that are entitled to
receive all or a portion of a Participant Class Member’s Entitlement Allocation under this Article
shall receive such settlement payments pursuant to the terms of the applicable Qualified
Domestic Relations Order. Alternate Payees of Former Participant Class Members that are
entitled to receive all or a portion of a Former Participant Class Member’s Entitlement
Allocation under this Article will receive such settlement payments under the methods described
in Section 5.3 for Former Participant Class Members.

                       (c) The Settlement Administrator shall have sole and final discretion to
determine the amounts to be paid to Beneficiaries and Alternate Payees in accordance with the
Plan of Allocation set forth in this Article and as ordered by the Court.

               5.5    Notice of completion of Plan of Allocation. Within ten (10) business days
of completing all aspects of the Plan of Allocation, the Settlement Administrator shall send to
Class Counsel, Defendants’ Counsel, and the Company one or more affidavits stating the
following: (a) the name of each Class Member to whom the Settlement Administrator sent the

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Notices and/or the Former Participant Class Member Claim Form, and the address of such
mailing; (b) the date(s) upon which the Settlement Administrator sent the Notices and/or the
Former Participant Class Member Claim Form; (c) the name of each Class Member whose
Notice and/or Former Participant Class Member Claim Form was returned as undeliverable; (d)
the efforts made by the Settlement Administrator to find the correct address and to deliver the
Notice and/or Former Participant Class Member Claim Form for each such Class Member; (e)
the name of each Class Member who submitted a Former Participant Class Member Claim Form
on or before the Former Participant Class Member Claim Form Deadline; and (f) the name of
each Class Member to whom the Settlement Administrator made a distribution from the Net
Settlement Amount, together with the amount and form of the distribution, the name of the
payee, the date of distribution, the amount of tax withholdings, if applicable, and the date of
remittance of tax withholdings to the appropriate tax authority, if applicable.

              5.6    Expiration of Allocation Checks and Disbursement of undistributed
monies from the Qualified Settlement

                       (a) All checks issued in accordance with the Plan of Allocation shall be
mailed to the address of each Class Member (or his or her Beneficiary or Alternate Payee)
provided by the Recordkeeper or any updated address obtained by the Settlement Administrator.

                        (b) All checks issued in accordance with the Plan of Allocation that are
not cashed within one hundred twenty (120) days of issuance shall be voided and shall revert to
the Qualified Settlement Fund, which limitation shall be printed on the face of each check. The
voidance of checks shall have no effect on Class Members’ release of claims, obligations,
representations, or warranties as provided herein, which shall remain in full effect. Any amounts
that revert to the Qualified Settlement Fund, and any funds that cannot be distributed to Class
Members for any other reason, together with any interest earned on them, and after the payment
of any applicable taxes by the Escrow Agent, shall be donated to an appropriate charity or
charities pursuant to a cy pres award of the Court. The Settlement Administrator shall notify
Class Counsel and Defendants’ Counsel of the total amount of voided checks. As soon as
practicable following receipt of such notification, Class Counsel shall make an application for a
cy pres award of any such funds to the Court. Class Counsel will meet and confer with
Defendants’ Counsel regarding the proposed recipients of any cy pres awards before making
such application and the Parties will endeavor in good faith to reach agreement on the recipient
or recipients. In the event that agreement on the recipients is not reached, Defendants shall have
the right to object to any proposed cy pres recipient and to propose to the Court a recipient or
recipients.

                 5.7   Responsibility for taxes.

                       (a) The Parties acknowledge that any payments to Class Members or
their attorneys may be subject to applicable tax laws. The Company, Defendants’ Counsel, Class
Counsel, and the Named Plaintiffs will provide no tax advice to the Class Members and make no
representation regarding the tax consequences of any of the settlement payments described in
this Settlement Agreement.



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                         (b) Each Class Member who receives a payment pursuant to the
Settlement Agreement shall be fully and ultimately responsible for payment of any and all
federal, state or local taxes resulting from or attributable to the payment received by such person.
Each Class Member shall hold Defendants, Individual Board Members, Individual Committee
Members, Defendants’ Counsel, Released Parties, Class Counsel, and the Settlement
Administrator harmless from (a) any tax liability, including without limitation penalties and
interest, related in any way to payments or credits under the Agreement, and (b) the costs
(including, without limitation, fees, costs and expenses of attorneys, tax advisors, and experts) of
any proceedings (including, without limitation, any investigation, response, and/or suit), related
to such tax liability.

                5.8    Restorative Payments. The Net Settlement Amount to be allocated and
distributed to the Authorized Former Participant Class Members and to the Plan for distribution
to the Participant Class Members in accordance with the Plan of Allocation shall constitute
“restorative payments” within the meaning of Revenue Ruling 2002-45 for all purposes.

                                          ARTICLE VI

                                   PROSPECTIVE RELIEF

               6.1    Defendants agree that the following procedures shall be undertaken on a
prospective basis beginning no later than thirty (30) days after the Settlement Effective Date:

                      (a)    One or more Plan fiduciaries will undertake to monitor Plan
recordkeeping fees; and

                      (b) One or more Plan fiduciaries will undertake to monitor the Plan’s
investment options, other than any investments available through the Plan’s self-directed
brokerage account.

                                          ARTICLE VII

                 ATTORNEYS’ FEES AND COSTS AND SERVICE AWARDS

                7.1    Attorneys’ Fees and Costs. No later than fourteen (14) days prior to the
deadline provided in the Preliminary Approval Order for Class Members to object to the
Settlement Agreement, Class Counsel may file an application with the Court for payment of
reasonable Attorneys’ Fees and Costs, and Administrative Expenses (other than those tax-related
expenses automatically deducted pursuant to Section 4.6), to be deducted from the Gross
Settlement Amount. Defendants agree not to object to Class Counsel’s application for
Attorneys’ Fees and Costs and Administrative Expenses. Notwithstanding anything herein, the
Court’s failure to approve, in whole or in part, any application for Attorneys’ Fees and Costs, or
Administrative Expenses, sought by Class Counsel shall not prevent the Settlement Agreement
from becoming effective, nor shall it be grounds for termination of the Settlement.

               7.2    Service Award. No later than fourteen (14) days prior to the deadline
provided in the Preliminary Approval Order for Class Members to object to the Settlement
Agreement, Class Counsel may file an application with the Court for payment of Service Awards
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to the Named Plaintiffs in an amount not to exceed ten thousand U.S. dollars (USD $10,000.00)
each. Notwithstanding anything herein, the Court’s failure to approve, in whole or in part, any
application for Service Awards shall not prevent the Settlement Agreement from becoming
effective, nor shall it be grounds for termination of the Settlement.

                                         ARTICLE VIII

                        RELEASES AND COVENANT NOT TO SUE

                8.1    Releases. Subject to Article X below, the obligations incurred pursuant to
this Settlement Agreement shall be in full and final disposition and settlement of any and all of
Plaintiffs’ Released Claims.

                        (a) Upon the Settlement Effective Date, the Named Plaintiffs and every
Class Member (on behalf of themselves, their heirs, current and former beneficiaries,
representatives, executors, administrators, successors, and assigns) and the Plan (subject to
Independent Fiduciary approval as described in Section 2.2 herein) shall, with respect to each
and every Plaintiffs’ Released Claim, be deemed to absolutely and unconditionally, finally and
forever release, relinquish and discharge each and every Plaintiffs’ Released Claim that the
Named Plaintiffs, the Class Members or the Plan directly, indirectly, derivatively, or in any other
capacity ever had, now have or hereafter may have against any and all of the Released Parties,
and forever shall be enjoined from prosecuting any such Plaintiffs’ Released Claim, whether or
not Class Members received the Notice, whether or not the Class Members received a payment
in connection with this Settlement Agreement, whether or not Former Participant Class Members
received the Former Participant Class Member Claim Form, whether or not Former Participant
Class Members have executed and delivered a Former Participant Class Member Claim Form,
whether or not Class Members have filed an objection to the Settlement or to any application by
Class Counsel for an award of Attorneys’ Fees and Costs, and whether or not the objections or
claims for distribution of such Class Members have been approved or allowed.

                       (b) Upon the Settlement Effective Date, Defendants, on behalf of
themselves and their successors and assigns shall be deemed to fully, finally and forever release,
relinquish and forever discharge the Defendants’ Released Claims, and forever shall be enjoined
from prosecuting any such claims.

                      (c)    Nothing herein shall preclude any action to enforce the Settlement
Agreement.

                8.2     Covenant not to sue. As of the Settlement Effective Date, the Class
Members and the Plan (subject to Independent Fiduciary approval as described in Section 2.2
herein) acting individually or together, or in combination with others, shall not sue or seek to
institute, maintain, prosecute, argue, or assert in any action or proceeding (including but not
limited to a U.S. Internal Revenue Service determination letter proceeding, a U.S. Department of
Labor proceeding, an arbitration, or a proceeding before any state insurance or other department
or commission), any cause of action, demand, or claim adverse to the Released Parties on the
basis of, in connection with, or arising out of any of Plaintiffs’ Released Claims. Nothing herein
shall preclude any action to enforce the Settlement Agreement.

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                 8.3    The Named Plaintiffs, Class Counsel, the Plan, or the Class Members may
hereafter discover facts in addition to or different from those that they know or believe to be true
with respect to the Plaintiffs’ Released Claims. Such facts, if known by them, might have
affected the decision to settle with Defendants, the Plan, and the Released Parties, or the decision
to release, relinquish, waive, and discharge the Plaintiffs’ Released Claims, or the decision of a
Class Member not to object to the Settlement. Notwithstanding the foregoing, each Class
Member and the Plan shall expressly, upon the Settlement Effective Date, be deemed to have,
and by operation of the Final Approval Order, shall have, fully, finally, and forever settled,
released, relinquished, waived, and discharged any and all Plaintiffs’ Released Claims, including
Unknown Claims. The Class Members and the Plan acknowledge and shall be deemed by
operation of the Final Approval Order to have acknowledged that the foregoing waiver was
bargained for separately and is a key element of the Settlement embodied in this Settlement
Agreement of which this release is a part.

                 8.4     Upon the Settlement Effective Date, the Plaintiffs, Class Members, and
the Plan shall be conclusively deemed to, and by operation of the Final Approval Order shall,
settle, release, relinquish, waive and discharge any and all rights or benefits they may now have,
or in the future may have, under any law relating to the releases of unknown claims pertaining
specifically to Section 1542 of the California Civil Code, which provides:

        A general release does not extend to claims which the creditor does not know or
        suspect to exist in his favor at the time of executing the release, which if known
        by him must have materially affected his settlement with the debtor.

Also, the Named Plaintiffs and Class Members with respect to Plaintiffs’ Released Claims shall,
upon the Settlement Effective Date, waive any and all provisions, rights and benefits conferred
by any law or of any State or territory within the United States or any foreign country, or any
principle of common law, which is similar, comparable or equivalent in substance to Section
1542 of the California Civil Code.

                                          ARTICLE IX

                         REPRESENTATIONS AND WARRANTIES

               9.1    Parties’ representations and warranties. Defendants’ Counsel, on behalf of
Defendants, and Class Counsel, on behalf of the Named Plaintiffs and Class Members, represent
and warrant as follows, and each acknowledges that each other is relying on these
representations and warranties in entering into the Settlement Agreement:

                       (a) that they are voluntarily entering into the Settlement Agreement as a
result of arm’s-length negotiations, and that in executing this Settlement Agreement they are
relying solely upon their own judgment, belief, and knowledge, and upon the advice and
recommendations of counsel, concerning the nature, extent, and duration of their rights and
claims hereunder and regarding all matters that relate in any way to the subject matter hereof;

                       (b)   that they assume the risk of mistake as to facts or law;


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                       (c) that they recognize that additional evidence may come to light, but
that they nevertheless desire to avoid the expense and uncertainty of litigation by entering into
the Settlement Agreement;

                      (d) that they have carefully read the contents of the Settlement
Agreement, and that the Settlement Agreement is signed freely by each individual executing the
Settlement Agreement on behalf of each of the Defendants, Named Plaintiffs, and Class
Members; and

                       (e) that they have made such investigation of the facts pertaining to the
subject matter of the Settlement Agreement as they deem necessary.

                9.2     Signatories’ representations and warranties. The persons executing the
Settlement Agreement represent that they have been duly authorized to do so and that they have
the authority to take appropriate action required or permitted to be taken pursuant to the
Settlement Agreement in order to effectuate its terms.

                                          ARTICLE X

                                        TERMINATION

                10.1 Right to terminate by each Party. Each Party shall have the right to
terminate and abandon the Settlement Agreement by providing written notice of their election to
do so to the other Party no later than fourteen (14) calendar days after:

                       (a)   the Court declines to approve the Settlement Agreement or any
material part of it;

                      (b) the Court declines to enter the Preliminary Approval Order or
materially modifies the contents of the Preliminary Approval Order;

                      (c) the Court declines to enter the Final Approval Order or materially
modifies the contents of the Final Approval Order; or

                      (d) the Final Approval Order is vacated, reversed, or modified in any
material respect on any appeal or other review or in a collateral proceeding occurring prior to the
Settlement Effective Date.

               Notwithstanding anything herein, no order of the Court, or modification or
reversal on appeal of any order of the Court, solely concerning Attorneys’ Fees and Costs or any
Service Awards shall constitute grounds for termination of the Settlement Agreement.

                10.2 Right to terminate by Defendants. Defendants (and only Defendants) shall
have the right to terminate and abandon the Settlement Agreement in the event that (1) the
Independent Fiduciary does not approve the release or the Settlement Agreement, or disapproves
the release or the Settlement Agreement for any reason whatsoever, or the Company reasonably
concludes that the Independent Fiduciary’s approval does not include the determinations
required by PTE 2003-39; and (2) the Parties do not mutually agree to modify the terms of the

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Settlement Agreement to facilitate an approval by the Independent Fiduciary or the Independent
Fiduciary’s determinations required by PTE 2003-39;

                10.3 Reversion to prior positions. If the Settlement Agreement is terminated in
accordance with this Article, then the Parties and Class Members will be restored to their
respective positions immediately before the execution of the Settlement Agreement, this Action
shall proceed in all respects as if the Settlement Agreement and any related orders had not been
entered, any order entered by the Court pursuant to the terms of this Settlement Agreement shall
be treated as vacated nunc pro tunc. All funds deposited in the Qualified Settlement Fund, and
any interest earned thereon, shall be returned to the Company, its agents, or insurers pro rata
based on their contributions to the Qualified Settlement Fund within thirty (30) calendar days
after the Settlement Agreement is finally terminated or deemed null and void, except as provided
for in Section 10.4. The fact of this Settlement Agreement and the terms contained herein shall
not be admissible in any proceeding for any purpose, and the Parties expressly and affirmatively
reserve all claims, remedies, defenses, arguments, and motions as to all claims and requests for
relief that might have been or might be later asserted in the Action.

               10.4 In the event that the Settlement Agreement is terminated, Administrative
Expenses incurred prior to the termination shall be paid first from the interest earned, if any, on
the Qualified Settlement Fund. Administrative Expenses in excess of the interest earned on the
Qualified Settlement Fund shall be split evenly and paid by Class Counsel, on the one hand and
the Company and/or its insurers, on the other hand.

                                          ARTICLE XI

                            NO ADMISSION OF WRONGDOING

                11.1 The Settlement Agreement, whether or not consummated, and any
proceedings taken pursuant to it, is for settlement purposes only and entered into solely for the
purpose of avoiding possible future expenses, burdens, or distractions of litigation, and
Defendants, Individual Board Members, Individual Committee Members, and the Released
Parties deny any and all wrongdoing. Defendants, Individual Board Members, Individual
Committee Members, and the Released Parties specifically and expressly deny any and all
liability in connection with any claims which have been made or could have been made, or
which are the subject matter of, arise from, or are connected, directly or indirectly, with or
related in any way to the Action, including, but not limited to, any violation of any federal or
state law (whether statutory or common law), rule, or regulation, and Defendants, Individual
Board Members, Individual Committee Members, and the Released Parties deny that any
violation of any such law, rule, or regulation has ever occurred.

               11.2 The Settlement Agreement, whether or not consummated, and any
negotiations, proceedings, or agreements relating to the Settlement Agreement, and any matters
arising in connection with settlement negotiations, proceedings, or agreements:

                       (a) shall not be offered or received against Defendants, Individual
Board Members, Individual Committee Members, or any of the Released Parties as evidence of,
or be construed as or deemed to be evidence of, any presumption, concession, or admission by

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Defendants, Individual Board Members, Individual Committee Members, or a Released Party of
the truth of any fact alleged by Plaintiffs or the validity of any claim that has been or could have
been asserted in the Action or in any litigation, or the deficiency of any defense that has been or
could have been asserted in the Action or in any litigation, or of any liability, negligence, fault,
or wrongdoing on the part of Defendants, Individual Board Members, Individual Committee
Members, or any of the Released Parties, or the appropriateness of certifying a non-settlement
class;

                       (b) shall not be offered or received against Defendants, Individual
Board Members, Individual Committee Members, or any of the Released Parties as evidence of a
presumption, concession or admission of any fault, misrepresentation or omission with respect to
any statement or written document approved or made by Defendants, Individual Board Members,
Individual Committee Members, or any of the Released Parties;

                       (c) shall not be offered or received against Defendants, Individual
Board Members, Individual Committee Members, or any of the Released Parties as evidence of a
presumption, concession, or admission with respect to any liability, negligence, fault, or
wrongdoing, or in any way referred to for any other reason as against Defendants, Individual
Board Members, Individual Committee Members, or any of the Released Parties, in any other
civil, criminal or administrative action or proceeding, other than such proceedings as may be
necessary to effectuate the provisions of this Settlement Agreement; provided, however, that if
this Settlement Agreement is approved by the Court, Defendants, Individual Board Members,
Individual Committee Members, or the Released Parties may refer to it to effectuate the liability
protection granted them hereunder; and

                      (d) shall not be construed against Defendants, Individual Board
Members, Individual Committee Members, or any of the Released Parties as an admission or
concession that the consideration to be given hereunder represents the amount which could or
would have been recovered after trial of the Action.

                                          ARTICLE XII

                                       MISCELLANEOUS

                12.1 Exhibits included. The exhibits to the Settlement Agreement are integral
parts of this Settlement Agreement and are incorporated by reference as if set forth herein.

               12.2 Cooperation. Class Counsel and Defendants’ Counsel agree to cooperate
fully with one another in seeking Court entry of the Preliminary Approval Order and Final
Approval Order. The Parties shall not disclose the terms of this Settlement until such time as
their mutually agreeable public filing addressed to the Settlement is submitted to the Court.

                12.3 Non-disparagement and Confidentiality. The Named Plaintiffs and their
counsel will not publicly disparage Defendants or any Individual Board Members or Individual
Committee Members as to the Action, the Plan, or the Settlement, and will not discuss the case,
facts or allegations in the case, or terms of the settlement outside of mutually agreeable public
filings concerning the settlement or contested court filings.

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                12.4 Survival of Confidentiality Order. Nothing in this Settlement Agreement
shall be construed as terminating the Confidentiality Order. The Parties remain bound by the
requirements of the Confidentiality Order, including its provision at Section 15 that requires the
parties to the Confidentiality Order to return or destroy all confidential materials produced by the
opposing side within sixty days of the Settlement Effective Date.

               12.5 Entire agreement. This Settlement Agreement and all of the exhibits
appended hereto constitute the entire agreement of the Parties with respect to their subject matter
and supersede any prior agreement, whether written or oral, as to that subject matter. No
representations or inducements have been made by any Party hereto concerning the Settlement
Agreement or its exhibits other than those contained and memorialized in such documents. The
provisions of the Settlement Agreement and its exhibits may not be modified or amended, nor
may any of their provisions be waived, except by a writing signed by all Parties hereto or their
successors-in-interest.

              12.6 Waiver. The waiver by any Party of a breach of the Settlement Agreement
by any other Party shall not be deemed a waiver of any other breach of the Settlement
Agreement.

                12.7 Construction of agreement. This Settlement Agreement shall not be
construed more strictly against one Party than another merely by virtue of the fact that it, or any
part of it, may have been prepared by counsel for one of the Parties, it being recognized that the
Settlement Agreement is the result of arm’s-length negotiations between the Parties and all
Parties have contributed substantially and materially to its preparation.

               12.8 Headings. The headings herein are used for the purpose of convenience
only and are not meant to have legal effect.

                 12.9 Governing law. The Settlement Agreement and all documents necessary
to effectuate it shall be governed by the internal laws of the Commonwealth of Massachusetts
without regard to its conflict of law doctrines, except to the extent that federal law requires that
federal law govern, and except that all computations of time with respect to the Settlement
Agreement shall be governed by Federal Rule of Civil Procedure 6.

              12.10 Disputes Concerning Compliance with Settlement Agreement. Class
Counsel, Defendants’ Counsel, and the Parties agree that any and all disputes concerning
compliance with the Settlement Agreement shall be exclusively resolved as follows:

                         (a) If Class Counsel, Defendants’ Counsel, or a Party has reason to
believe that a legitimate dispute exists concerning the Settlement Agreement, the party raising
the dispute shall first promptly give written notice under the Settlement Agreement to the other
party including in such notice: (a) a reference to all specific provisions of the Settlement
Agreement that are involved; (b) a statement of the alleged non-compliance; (c) a statement of
the remedial action sought; and (d) a brief statement of the specific facts, circumstances, and any
other arguments supporting the position of the party raising the dispute;




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                       (b) Within ten (10) business days after receiving the notice described in
Section 12.10(a), the receiving party shall respond in writing with its position and the facts and
arguments it relies on in support of its position;

                      (c) For a period of not more than ten (10) business days following
mailing of the response described in Section 12.10(b), the Parties shall undertake good-faith
negotiations, which may include meeting in person or conferring by telephone, to attempt to
resolve the dispute;

                       (d) If the dispute is not resolved during the period described in Section
12.10(c), either party may request that the Court resolve the dispute;

                      (e) In connection with any disputes concerning compliance with the
Settlement Agreement, the Parties agree that each party shall bear its own fees and costs unless
the Court orders otherwise.

                12.11 Personal Jurisdiction. The Parties agree that the Court has personal
jurisdiction over the Named Plaintiffs, Class Members, and Defendants, and shall retain that
jurisdiction for purposes of enforcing the Settlement Agreement and resolving any disputes
concerning compliance with the Settlement Agreement.

                12.12 Fees and expenses. Except as otherwise expressly set forth herein, each
Party shall pay all fees, costs, and expenses incurred in connection with the Action, including
fees, costs, and expenses incident to the negotiation, preparation, or compliance with the
Settlement Agreement, and including any fees, expenses, and disbursements of its counsel and
other advisors. Nothing in the Settlement Agreement shall require Defendants or any Released
Party to pay any monies other than as expressly provided herein.

                12.13 Execution in counterparts. The Settlement Agreement may be executed in
one or more counterparts and may be executed by facsimile signature. All executed counterparts
and each of them shall be deemed to be one and the same instrument provided that counsel for
the Parties shall exchange among themselves signed counterparts.

                12.14 Notices. Unless otherwise provided herein, any notice, demand, or other
communication under the Settlement Agreement (other than Notices to Class Members or other
notices provided at the direction of the Court) shall be in writing and shall be deemed duly given
upon receipt if it is addressed to each of the intended recipients as set forth below and delivered
by hand, sent by registered or certified mail postage prepaid, or delivered by reputable express
overnight courier as follows:

                       (a)   if to Plaintiffs:

                             Kai Richter
                             Paul Lukas
                             NICHOLS KASTER, PLLP
                             4600 IDS Center
                             80 S 8th Street
                             Minneapolis, MN 55402
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             EXHIBIT 1
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                     UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS

                If you participated in the Fidelity Retirement Savings Plan
             (the "Plan") at any time from November 17, 2014 to the present
            after separating from employment with Fidelity, then you may be
                              part of a class action settlement.

                        PLEASE READ THIS NOTICE CAREFULLY
  THIS NOTICE RELATES TO THE SETTLEMENT OF A CLASS ACTION LAWSUIT AND CONTAINS
       IMPORTANT INFORMATION ABOUT YOUR RIGHTS IF YOU ARE A CLASS MEMBER

                      A Federal Court authorized this notice. You are not being sued.
                                 This is not a solicitation from a lawyer.

        •    A Settlement has been reached in a class action lawsuit against FMR LLC, the FMR LLC
             Funded Benefits Investment Committee ("FBIC"), the FMR LLC Retirement Committee
             ("Retirement Committee"), Fidelity Management & Research Company ("FMR"), FMR Co., Inc.
             ("FMRC"), and Fidelity Investments Institutional Operations Company, Inc. ("FIIOC")
             (collectively, "Defendants" or "Fidelity"). The class action lawsuit involves whether or not
             Defendants complied with their duties under the Employee Retirement Income Security Act of
             1974 ("ERISA") in managing the Plan. Defendants deny all claims, and nothing in the
             Settlement is an admission or concession on Defendants’ part of any fault or liability
             whatsoever.

        •    You are included as a Class Member if you participated in the Plan at any time from November
             17, 2014 to the present (the “Class Period”) after separating employment with Fidelity or its
             affiliates, and you did not receive a revenue credit to your Plan account in any Plan year or
             portion of a Plan year in which you maintained a Plan account balance and were no longer
             employed by Fidelity.

        •    The terms and conditions of the Settlement are set forth in the Settlement Agreement dated
             July 2, 2020, and are summarized below. Capitalized terms used in this Notice but not defined
             in this Notice have the meanings assigned to them in the Settlement Agreement. The
             Settlement Agreement is available at [www.settlemementwebsite.com]. Certain other
             documents also will be posted on that website. You should visit that website if you would like
             more information about the Settlement or the lawsuit. All papers filed in this lawsuit are also
             available for review via the Public Access to Court Electronic Records System (PACER), at
             http://www.pacer.gov.

        •    Under the Settlement, Fidelity has agreed to cause its insurers to pay $28,500,000.00 into a
             settlement fund. Class Members are eligible to receive a pro rata share of the amount in the
             settlement fund remaining after payment of Administrative Expenses, any Attorneys' Fees and
             Costs that the Court awards to Class Counsel, and any Service Awards to the Named Plaintiffs.
             Payments to Class Members who had a Plan account with a balance greater than $0.00 as of
             [date of preliminary approval order] (referred to herein as “Participant Class Members”) will be
             deposited into their respective Plan accounts. Class Members who did not have a Plan account
             with a balance greater than $0.00 as of [date of preliminary approval order] (referred to herein
             as “Former Participant Class Members”) must timely submit a claim form to be deemed an
             “Authorized Former Participant Class Member” and receive an allocation, and may receive
             their allocation in the form of a check or a rollover. Former Participant Class Members who do
             not timely submit a Former Participant Class Member Claim Form will not be deemed
             “Authorized Former Participant Class Members” and therefore will not receive monetary

               QUESTIONS? CALL 1-800-[XXX-XXX] TOLL FREE, OR VISIT WWW.[WEBSITE].COM
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            compensation. Participant Class Members who are determined to no longer have a Plan
            account with a balance greater than $0.00 as of the date of their Settlement payments will be
            treated as “Authorized Former Participant Class Members” and will receive an allocation by
            check without the need to submit a Former Participant Class Member Claim Form.

        •   Please read this notice carefully. Your rights and the choices available to you — and the
            applicable deadlines to act — are explained in this Notice. Your legal rights are affected
            whether you act, or don't act. Please note that neither Fidelity nor any Fidelity affiliate nor any
            employees or representatives of Fidelity or a Fidelity affiliate may advise you as to what the
            best choice is for you or how you should proceed.

        •   The Court still has to decide whether to give its Final Approval to the Settlement. A Fairness
            Hearing has been scheduled for [DATE] at [TIME] before the Court in courtroom [ ] of the John
            Joseph Moakley U.S. Courthouse, 1 Courthouse Way, Boston, Massachusetts. Payments
            under the Settlement will be made only if the Court finally approves the Settlement and that
            Final Approval is upheld in the event of any appeal.


                     THIS TABLE CONTAINS A SUMMARY OF YOUR LEGAL RIGHTS AND
                                    OPTIONS IN THIS SETTLEMENT

            DO NOTHING                       Our records indicate that you are a Participant Class
                                             Member. You do not need to do anything to receive your
                                             share of the Net Settlement Amount. You will get a share of
                                             the Settlement benefits to which you are entitled and will give
                                             up your rights to sue Defendants about the allegations in this
                                             case.
            OBJECT BY [DATE]                 If you wish to object to any part of the Settlement, you must
                                             write to Class Counsel and Defendants’ Counsel (as identified
                                             on page [_]) to explain why you object.
            ATTEND A HEARING                 You may also attend the Fairness Hearing and speak at the
                                             Fairness Hearing on [DATE]. You may attend the hearing and
                                             speak at the hearing without filing a notice of your intention to
                                             appear, but you will not be permitted to make an objection if
                                             you do not comply with the requirements for making objections.
            SUBMIT A CLAIM FORM IF           If you believe our records are incorrect, and you are a
            YOU BELIEVE YOU ARE A            “Former Participant Class Member” who did not have a Plan
            FORMER PARTICIPANT               account with a balance greater than $0.00 as of [date of
            CLASS MEMBER                     preliminary approval order], or are the Beneficiary or
                                             Alternate Payee of a Former Participant Class Member, then
                                             you must mail a Former Participant Class Member Claim
                                             Form postmarked on or before [DATE] to receive a share of
                                             the Net Settlement Amount. If you are a Former Participant
                                             Class Member, and you do not mail the Former Participant
                                             Class Member Claim Form by the above deadline, you will
                                             forfeit your share of the Net Settlement Amount. If you believe
                                             you are a Former Participant Class Member, a claim form
                                             may be obtained by calling the Settlement Administrator at
                                             [telephone number] or by accessing
                                             [www.settlementwebsite.com].


                                           BASIC INFORMATION
               QUESTIONS? CALL 1-800-[XXX-XXX] TOLL FREE, OR VISIT WWW.[WEBSITE].COM
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           1. What is this notice and why should I read it?

      A court authorized this notice to let you know about a proposed settlement of a class action lawsuit
      called Moitoso, et al. v. FMR LLC, et al., Civil Action No. 1:18-cv-12122-WGY (the “Action”), brought
      on behalf of the Class Members and the Plan, and pending in the United States District Court for the
      District of Massachusetts. You need not live in Massachusetts to get a benefit under the Settlement.
      This notice describes the Settlement. Please read this notice carefully. Your rights and options—
      and the deadlines to exercise them—are explained in this notice. Please understand that if you
      are a Class Member, your legal rights are affected regardless of whether you act.

           2. What is a class action lawsuit?

      A class action is a lawsuit in which one or more plaintiffs—in this case, four current or former Plan
      participants (the “Named Plaintiffs”)—sue on behalf of a group of people who allegedly have similar
      claims. After the Parties reached an agreement to settle this case, the Court granted preliminary
      approval of the Settlement. Among other things, this preliminary approval permits Class Members
      to voice their support of or opposition to the Settlement before the Court makes a final determination
      as whether to approve the Settlement. In a class action, the Court resolves the issues for all class
      members.

                       THE CLAIMS IN THE LAWSUIT AND THE SETTLEMENT
                3. What is this lawsuit about?

      The Named Plaintiffs, suing individually and on behalf of the Class and Plan (the “Plaintiffs”), allege
      that Fidelity breached its fiduciary duties under ERISA by populating the Plan exclusively with Fidelity
      mutual funds, failing to monitor the fees and performance of those funds, and failing to monitor
      recordkeeping fees or negotiate revenue sharing rebates for Class Members. A more complete
      description of what Plaintiffs allege is in the Fourth Amended Complaint, which is available on the
      Settlement Website at [www.WEBSITE.com]. Plaintiffs’ separate claims for prohibited transactions
      have been dismissed by the Court.

      Defendants deny all claims of wrongdoing or liability against them and assert that they have always
      acted prudently and in the best interests of Plan participants and beneficiaries. Fidelity also believes
      the Plan provides a very generous benefit. Defendants are settling the Action solely to avoid the
      expense, inconvenience, and inherent risk and disruption of litigation.

           4. Why is there a Settlement?

      On March 27, 2020, the district court ruled that Defendants breached their duty of prudence under
      ERISA by failing to monitor certain of the mutual fund investments available to participants in the Plan
      and by failing to monitor Plan recordkeeping expenses. However, the district court has not decided
      in favor of either side in the case with respect to the remaining issues of loss and causation, and
      Defendants had the right to appeal the district court’s ruling. Instead, both sides agreed to a
      Settlement. That way, both sides avoided the cost and risk of additional trial proceedings, and the
      affected Class Members will get substantial benefits that they would not have received if Plaintiffs
      had litigated the remaining issues and lost, or had lost on appeal. The Named Plaintiffs and their
      attorneys believe the Settlement is in the best interests of the Class Members. Nothing in the
      Settlement Agreement is an admission or concession on Defendants’ part of any fault or liability
      whatsoever, but has been entered into to avoid the uncertainty, expense, and burden of additional
      litigation.


               QUESTIONS? CALL 1-800-[XXX-XXX] TOLL FREE, OR VISIT WWW.[WEBSITE].COM
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                              WHO'S INCLUDED IN THE SETTLEMENT?
           5. How do I know if I am in the Settlement Class?

      The Court decided that everyone who fits this description is a member of the Class:

      All participants and beneficiaries of the FMR LLC Profit Sharing Plan or the Fidelity Retirement
      Savings Plan who, during the Class Period, (1) remained Plan participants or beneficiaries for any
      length of time, (2) ceased to be employed by a participating employer before or during the period of
      time that they remained in the Plan, and (3) did not receive any portion of the mandatory revenue
      credit contributed to the FMR LLC Retirement Savings Plan pursuant to § 5.1(e) of the 2014
      Restatement of the Plan (as amended) and §1.12(b)(3) of the 2017 Adoption Agreement for use with
      the Fidelity Basic Plan Document No. 17 for the Plan (as amended) issued by FMR LLC in any Plan
      year or portion of a Plan year in which they maintained a Plan account balance and were no longer
      employed by a participating employer.

      The Court has excluded from the Class the members of the FMR LLC Board of Directors and
      members of the FBIC and Retirement Committee during the Class Period.

      If you meet the definition above, you are a member of the Class.

                                     THE SETTLEMENT BENEFITS
           6. What does the Settlement provide?

      Fidelity has agreed to cause its insurers to pay $28,500,000 into a Qualified Settlement Fund to
      resolve the claims of Class Members. The Net Settlement Amount (after deduction of any Court-
      approved expenses associated with administering the Settlement, Attorneys’ Fees and Costs, and
      Service Awards to Named Plaintiffs) will be allocated to Class Members according to the Plan of
      Allocation set forth in the Settlement Agreement. Under the Plan of Allocation, monies will be
      distributed to Participant Class Members and Authorized Former Participant Class Members pro rata
      based on their account balances for the period of November 17, 2014 to June 30, 2020.

      In addition, the Settlement provides that prospectively: (1) one or more Plan fiduciaries will undertake
      to monitor Plan recordkeeping fees and (2) one or more Plan fiduciaries will undertake to monitor the
      Plan’s investment options, other than any investments available through the Plan’s self-directed
      brokerage account.

      If you are a Participant Class Member or the Beneficiary of a Participant Class Member, your payment
      will be deposited into your Plan account in accordance with your investment elections for new
      contributions. If you have not made any such elections, your payment will be invested in the Plan's
      qualified default investment alternative. If you are an Alternate Payee of a Participant Class Member
      pursuant to a Qualified Domestic Relations Order, your portion of the Settlement will be distributed
      pursuant to the terms of that Order.

      If you are a Former Participant Class Member who previously participated in the Plan but no longer
      do so (or you are a Beneficiary or an Alternate Payee of a Former Participant Class Member), then
      you must complete, sign, and mail a valid Former Participant Class Member Claim Form by [RETURN
      DATE SET FORTH IN PRELIMINARY APPROVAL ORDER] to be deemed an Authorized Former
      Participant Class Member and receive your share of the Settlement. If you believe you are a Former
      Participant Class Member, a Former Participant Class Member Claim Form can be obtained by calling
      the Settlement Administrator at [telephone number] or by accessing [www.settlementwebsite.com].
      On the Former Participant Class Member Claim Form, you will be able to choose between receiving

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      your share of the Settlement in the form of a check or through a rollover to a qualified retirement
      account. Former Participant Class Members must timely submit a Former Participant Class Member
      Claim Form to receive monetary compensation.

      All Class Members and anyone claiming through them will fully release the Plan as well as
      Defendants, Individual Committee Members, Individual Board Members, and the Released Parties
      from Plaintiffs’ Released Claims. The Released Parties include, but are not limited to, Defendants’
      past, present, and future parent corporation(s), and their past, present, and future affiliates,
      subsidiaries, divisions, joint ventures, predecessors, successors, successors-in-interest, and
      assigns, and any individual, partnership, corporation, governmental entity or any other form of entity
      or organization that controls, is controlled by, or is under common control with any of the foregoing.
      The Plaintiffs’ Released Claims include, but are not limited to, all claims that in any way arise out of,
      relate to, are based on, or have any connection with any of the allegations, acts, omissions, purported
      conflicts, representations, misrepresentations, facts, events, matters, transactions or occurrences
      that were asserted in the Action or could have been asserted in the Action. The Plaintiffs’ Released
      Claims also include those that relate to the direction to calculate, the calculation of, and/or the method
      or manner of allocation of the Net Settlement Fund pursuant to the Plan of Allocation and/or that
      relate to the approval by the Independent Fiduciary of the Settlement Agreement, unless brought
      against the Independent Fiduciary alone.

      This is only a summary of the Released Parties and Plaintiffs’ Released Claims, and is not a binding
      description of either. The governing releases are found within the Settlement Agreement at
      [www.settlementwebsite.com]. Generally, the release means that Class Members will not have the
      right to sue the Plan, Defendants, or related parties for conduct during the Class Period arising out of
      or relating to the allegations in the lawsuit. The entire Settlement Agreement is available at
      [www.settlementwebsite.com].
                                        HOW TO GET BENEFITS
           7. How do I get benefits?

      Whether you need to submit a claim form to receive your distribution depends on whether you are
      considered a “Participant Class Member” or a “Former Participant Class Member.” According to our
      records, you are a Participant Class Member. Therefore, you do not need to do anything to
      receive your share of the Settlement. The benefits of the Settlement will be distributed
      automatically to your Plan account once the Court approves the Settlement. If you no longer have a
      Plan account with a balance greater than $0.00 when the Settlement is distributed to Class Members,
      the Settlement Administrator will mail you a check for your share of the Net Settlement Amount to
      your last known address. Please contact the Settlement Administrator at [telephone number] if you
      wish to update your address information.

      If you believe our records are incorrect, and you are a “Former Participant Class Member,” or are the
      Beneficiary or Alternate Payee of a Former Participant Class Member, then you need to submit a
      Former Participant Class Member Claim Form to receive your share of the Settlement. If you believe
      you are a Former Participant Class Member, a claim form may be obtained by calling the Settlement
      Administrator at [telephone number] or by accessing [www.settlementwebsite.com]. The Former
      Participant Class Member Claim Form will explain the next steps necessary to receive your
      distribution.

           8. When will I get my payment?

      If you are a Participant Class Member or beneficiary, then you will receive your pro rata share of the
      settlement fund in the form of a deposit into your Plan account effective no later than twenty-one (21)
      days after the Settlement has received Final Approval and becomes effective. The hearing to consider

               QUESTIONS? CALL 1-800-[XXX-XXX] TOLL FREE, OR VISIT WWW.[WEBSITE].COM
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      the final fairness of the Settlement is scheduled for [Fairness Hearing, 2020]. Any Alternate Payees
      of current Plan participants will also receive their payment within 21 days, in accordance with the
      terms of their Qualified Domestic Relations Order.

      If you are a Former Participant Class Member (or a Beneficiary or Alternate Payee of such former
      participant) who timely submits a Former Participant Class Member Claim Form, the Settlement
      Administrator will, depending on your election, either (1) effect a rollover of your pro rata share of the
      settlement fund to your qualified retirement account selected in that Form within 21 days after the
      Settlement has received Final Approval and becomes effective or (2) issue a check to you within the
      same 21-day period. If you are a Former Participant Class Member (or a Beneficiary or Alternate
      Payee of such former participant) and you do not submit a Former Participant Class Member Claim
      Form by [DATE], you will forfeit your share of the Net Settlement Amount.

      All checks will expire and become void 120 days after they are issued, if they have not been cashed.
      These payments may have certain tax consequences; you should consult your tax advisor.

      There will be no payments under the Settlement if the Settlement Agreement is terminated.

                                 THE LAWYERS REPRESENTING YOU
            9. Who represents the Settlement Class?

      For purposes of the Settlement, the Court has appointed lawyers from the law firm of Nichols Kaster,
      PLLP and Block & Leviton LLP as Class Counsel. If you want to be represented by your own lawyer,
      you may hire one at your own expense. In addition, the Court appointed Named Plaintiffs Kevin
      Moitoso, Tim Lewis, Mary Lee Torline, and Sheryl Arndt to serve as the Class representatives. They
      are also Class Members.

      Subject to approval by the Court, Class Counsel has proposed that up to $10,000 may be paid to
      each of the Plaintiffs as the Class representatives in recognition of the time and effort they expended
      on behalf of the Class. The Court will determine the proper amount of any award to the Named
      Plaintiffs. The Court may award less than that amount.

            10. How will the lawyers be paid?

      From the beginning of the case, which was filed in October 2018, to the present, Class Counsel have
      not received any payment for their services in prosecuting the case or obtaining the Settlement, nor
      have they been reimbursed for any out-of-pocket expenses they have incurred. Class Counsel will
      apply to the Court for an award of reasonable attorneys' fees (not to exceed one-third of the settlement
      fund), plus their costs and expenses. Defendants have agreed not to object to such an application.
      The Court will determine the proper amount of any Attorneys' Fees and Costs to award Class
      Counsel.

      Any Attorneys' Fees and Costs awarded by the Court will be paid to Class Counsel from the
      settlement fund. The Class Members will not have to pay anything out-of-pocket toward the fees or
      costs of Class Counsel.

                                      YOUR RIGHTS AND OPTIONS
           11. What is the effect of Final Approval of the Settlement?

      If the Court grants Final Approval of the Settlement, a final order and judgment dismissing the case
      will be entered in the Action. Payments under the Settlement will then be processed and distributed.

               QUESTIONS? CALL 1-800-[XXX-XXX] TOLL FREE, OR VISIT WWW.[WEBSITE].COM
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      The release by Class Members will also take effect. No Class Member will be permitted to continue
      to assert Plaintiffs’ Released Claims in any other litigation against Defendants or the other persons
      and entities covered by the release, as described in Question No. 6.

      If you object to the terms of the Settlement Agreement, you may notify the Court of your objection.
      (See Table on page 2 of this Notice.) If the Settlement is not approved, the case will proceed as if no
      settlement had been attempted or reached. If the Settlement is not approved and the case resumes,
      there is no guarantee that Class Members will recover more than is provided for under the Settlement,
      or anything at all.

            12. What happens if I do nothing at all?

      If you do nothing, and the Settlement is approved, you will release any claims you may have against
      Defendants, Individual Board Members, Individual Committee Members, or the Released Parties
      concerning the conduct Plaintiffs allege in their complaint. (See Question No. 6.) You may also
      receive a payment as described in Question No. 6.

            13. How do I get out of the Settlement?

      If the Court approves the Settlement, you will be bound by it and will receive whatever benefits you
      are entitled to under its terms. You cannot exclude yourself from the Settlement, but you may notify
      the Court of your objection to the Settlement. (See Question No. 15.) If the Court approves the
      Settlement, it will do so under Federal Rule of Civil Procedure 23(b)(1), which does not permit Class
      Members to opt out of the Class.

           14. Can I sue Fidelity for the same thing later?

      No. If the Court approves the Settlement, you will have given up any right to sue Fidelity or any of the
      Released Parties for the Plaintiffs’ Released Claims.

            15. How do I object to the Settlement?

      You can object to the Settlement if you don't like any part of it. If you object, you must give the reasons
      why you think the Court should not approve the Settlement. The Court will consider your views. Your
      objection to the Settlement must be postmarked no later than [OBJECTION DEADLINE, 2020] and
      must be sent to the attorneys for the Parties at the addresses below:

                          Class Counsel                       Defendants’ Counsel
                     Kai Richter                        Alison V. Douglass
                     Paul Lukas                         John J. Falvey, Jr.
                     NICHOLS KASTER, PLLP               GOODWIN PROCTER LLP
                     4600 IDS Center                    100 Northern Avenue
                     80 S 8th Street                    Boston, MA 02210
                     Minneapolis, MN 55402

      The objection must be in writing and should include the case name Moitoso, et al. v. FMR LLC, et al.,
      Civil Action No. 1:18-cv-12122-WGY; as well as include your (a) name; (b) address; (c) a statement
      that you are a member of the Settlement Class; (d) the specific grounds for the objection (including
      all arguments, citations, and evidence supporting the objection); (e) all documents or writings that
      you desire the Court to consider (including all copies of any documents relied upon in the objection);
      (f) your signature; and (g) a notice of intention to appear at the Fairness Hearing (if applicable).
      (If you are represented by counsel, you or your counsel must file your objection through the Court's
      CM/ECF system.) The Court will consider all properly filed comments from Class Members. If you

               QUESTIONS? CALL 1-800-[XXX-XXX] TOLL FREE, OR VISIT WWW.[WEBSITE].COM
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      wish to appear and be heard at the Fairness Hearing in addition to submitting a written objection to
      the Settlement, you or your attorney should say so in your written objection.

      Class Counsel will file with the Court their request for Attorneys' Fees and Costs at least two weeks
      prior to [OBJECTION DEADLINE, 2020], and post it on the Settlement Website.

                                 THE COURT'S FAIRNESS HEARING
            16. When and where will the Court hold a hearing on the fairness of the
                Settlement?

      A Fairness Hearing has been set for [DATE] at [TIME], before The Honorable William G. Young at
      the John Joseph Moakley U.S. Courthouse, 1 Courthouse Way, Boston, Massachusetts 02210 in
      [COURTROOM]. At the hearing, the Court will hear any comments, objections, and arguments
      concerning the fairness of the proposed Settlement, including the amount requested by Class
      Counsel for Attorneys' Fees and Costs and the Service Awards to the Named Plaintiffs as the Class
      representatives. You do not need to attend this hearing. You also do not need to attend to have an
      objection considered by the Court. (See Question No. 15.)

      Note: The date and time of the Fairness Hearing are subject to change by Court Order, but any
      changes will be posted at [www.[website].com].

            17. Do I have to come to the Fairness Hearing?

      No. Class Counsel will answer any questions the Court may have. But you are welcome to come at
      your own expense. If you send an objection, you don't have to come to Court to talk about it. As long
      as any written objection you choose to make was filed and mailed on time and meets the other criteria
      described in the Preliminary Approval Order, the Court will consider it. You may also pay another
      lawyer to attend, but you don't have to.

            18. May I speak at the hearing?

      You may ask the Court for permission to speak at the hearing concerning any part of the proposed
      Settlement by following the instructions in Question No. 15 above.

                                   GETTING MORE INFORMATION
            19. Where can I get additional information?

      This notice provides only a summary of the matters relating to the Settlement. For more detailed
      information, you may wish to review the Settlement Agreement. You can view the Settlement
      Agreement and get more information at [WWW.WEBSITE.COM]. You can also get more information
      by writing to the Settlement Administrator at [ ] or calling toll-free [ ].

                     PLEASE DO NOT CONTACT THE COURT, THE JUDGE, OR FIDELITY WITH
                                  QUESTIONS ABOUT THE SETTLEMENT.




               QUESTIONS? CALL 1-800-[XXX-XXX] TOLL FREE, OR VISIT WWW.[WEBSITE].COM
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             EXHIBIT 2
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                     UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS

                If you participated in the Fidelity Retirement Savings Plan
             (the "Plan") at any time from November 17, 2014 to the present
            after separating from employment with Fidelity, then you may be
                              part of a class action settlement.

                        PLEASE READ THIS NOTICE CAREFULLY
  THIS NOTICE RELATES TO THE SETTLEMENT OF A CLASS ACTION LAWSUIT AND CONTAINS
       IMPORTANT INFORMATION ABOUT YOUR RIGHTS IF YOU ARE A CLASS MEMBER

                      A Federal Court authorized this notice. You are not being sued.
                                 This is not a solicitation from a lawyer.

        •    A Settlement has been reached in a class action lawsuit against FMR LLC, the FMR LLC
             Funded Benefits Investment Committee ("FBIC"), the FMR LLC Retirement Committee
             ("Retirement Committee"), Fidelity Management & Research Company ("FMR"), FMR Co., Inc.
             ("FMRC"), and Fidelity Investments Institutional Operations Company, Inc. ("FIIOC")
             (collectively, "Defendants" or "Fidelity"). The class action lawsuit involves whether or not
             Defendants complied with their duties under the Employee Retirement Income Security Act of
             1974 ("ERISA") in managing the Plan. Defendants deny all claims, and nothing in the
             Settlement is an admission or concession on Defendants’ part of any fault or liability
             whatsoever.

        •    You are included as a Class Member if you participated in the Plan at any time from November
             17, 2014 to the present (the Class Period) after separating employment with Fidelity or its
             affiliates, and you did not receive a revenue credit to your Plan account in any Plan year or
             portion of a Plan year in which you maintained a Plan account balance and were no longer
             employed by Fidelity.

        •    The terms and conditions of the Settlement are set forth in the Settlement Agreement dated
             July 2, 2020, and are summarized below. Capitalized terms used in this Notice but not defined
             in this Notice have the meanings assigned to them in the Settlement Agreement. The
             Settlement Agreement is available at [www.settlemementwebsite.com]. Certain other
             documents also will be posted on that website. You should visit that website if you would like
             more information about the Settlement or the lawsuit. All papers filed in this lawsuit are also
             available for review via the Public Access to Court Electronic Records System (PACER), at
             http://www.pacer.gov.

        •    Under the Settlement, Fidelity has agreed to cause its insurers to pay $28,500,000.00 into a
             settlement fund. Class Members are eligible to receive a pro rata share of the amount in the
             settlement fund remaining after payment of Administrative Expenses, any Attorneys' Fees and
             Costs that the Court awards to Class Counsel, and any Service Award to the Named Plaintiffs.
             Payments to Class Members who had a Plan account with a balance greater than $0.00 as of
             [date of preliminary approval order] (referred to herein as “Participant Class Members”) will be
             deposited into their respective Plan accounts. Class Members who did not have a Plan account
             with a balance greater than $0.00 as of [date of preliminary approval order] (referred to herein
             as “Former Participant Class Members”) must submit a claim form to be deemed an
             “Authorized Former Participant Class Member” and receive an allocation, and may receive
             their allocation in the form of a check or a rollover. Former Participant Class Members who do
             not timely submit a Former Participant Class Member Claim Form will not be deemed
             “Authorized Former Participant Class Members” and therefore will not receive monetary

               QUESTIONS? CALL 1-800-[XXX-XXX] TOLL FREE, OR VISIT WWW.[WEBSITE].COM
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            compensation. Participant Class Members who are determined to no longer have a Plan
            account with a balance greater than $0.00 as of the date of their Settlement payments will be
            treated as “Authorized Former Participant Class Members” and will receive an allocation by
            check without the need to submit a Former Participant Class Member Claim Form.

        •   Please read this notice carefully. Your rights and the choices available to you — and the
            applicable deadlines to act — are explained in this Notice. Your legal rights are affected
            whether you act, or don't act. Please note that neither Fidelity nor any Fidelity affiliate nor any
            employees or representatives of Fidelity or a Fidelity affiliate may advise you as to what the
            best choice is for you or how you should proceed.

        •   The Court still has to decide whether to give its Final Approval to the Settlement. A Fairness
            Hearing has been scheduled for [DATE] at [TIME] before the Court in courtroom [ ] of the John
            Joseph Moakley U.S. Courthouse, 1 Courthouse Way, Boston, Massachusetts. Payments
            under the Settlement will be made only if the Court finally approves the Settlement and that
            Final Approval is upheld in the event of any appeal.


                     THIS TABLE CONTAINS A SUMMARY OF YOUR LEGAL RIGHTS AND
                                    OPTIONS IN THIS SETTLEMENT

            SUBMIT A CLAIM FOR               Our records indicate that you are a Former Participant Class
            YOUR SHARE OF THE                Member. To receive your share of the Net Settlement
            SETTLEMENT                       Amount, you must mail a Former Participant Class Member
                                             Claim Form postmarked on or before [DATE]. The Former
                                             Participant Class Member Claim Form is included with this
                                             Notice and can also be obtained online at
                                             [www.settlementwebsite.com]. If you do not mail the Former
                                             Participant Class Member Claim Form by the above deadline,
                                             you will forfeit your share of the Net Settlement Amount.
                                             Regardless of whether you submit a claim form, you will give
                                             up your rights to sue Defendants about the allegations in this
                                             case.
            OBJECT BY [DATE]                 If you wish to object to any part of the Settlement, you must
                                             write to Class Counsel and Defendants’ Counsel (as identified
                                             on page [__]) to explain why you object.
            ATTEND A HEARING                 You may also attend the Fairness Hearing and speak at the
                                             Fairness Hearing on [DATE]. You may attend the hearing and
                                             speak at the hearing without filing a notice of your intention to
                                             appear, but you will not be permitted to make an objection if
                                             you do not comply with the requirements for making objections.
            DO NOTHING                       According to our records, you are a Former Participant Class
                                             Member. Therefore, if you do not submit a valid, timely Former
                                             Participant Claim Form, you will not get a share of the
                                             Settlement benefits but will still give up your rights to sue
                                             Defendants about the allegations in this case.




               QUESTIONS? CALL 1-800-[XXX-XXX] TOLL FREE, OR VISIT WWW.[WEBSITE].COM
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                                          BASIC INFORMATION

           1. What is this notice and why should I read it?

      A court authorized this notice to let you know about a proposed settlement of a class action lawsuit
      called Moitoso, et al. v. FMR LLC, et al., Civil Action No. 1:18-cv-12122-WGY (the “Action”), brought
      on behalf of the Class Members and the Plan, and pending in the United States District Court for the
      District of Massachusetts. You need not live in Massachusetts to get a benefit under the Settlement.
      This notice describes the Settlement. Please read this notice carefully. Your rights and options—
      and the deadlines to exercise them—are explained in this notice. Please understand that if you
      are a Class Member, your legal rights are affected regardless of whether you act.

           2. What is a class action lawsuit?

      A class action is a lawsuit in which one or more plaintiffs—in this case, four current or former Plan
      participants (the “Named Plaintiffs”)—sue on behalf of a group of people who allegedly have similar
      claims. After the Parties reached an agreement to settle this case, the Court granted preliminary
      approval of the Settlement. Among other things, this preliminary approval permits Class Members
      to voice their support of or opposition to the Settlement before the Court makes a final determination
      as whether to approve the Settlement. In a class action, the Court resolves the issues for all class
      members.

                       THE CLAIMS IN THE LAWSUIT AND THE SETTLEMENT
                3. What is this lawsuit about?

      The Named Plaintiffs, suing individually and on behalf of the Class and Plan (the “Plaintiffs”), allege
      that Fidelity breached its fiduciary duties under ERISA by populating the Plan exclusively with Fidelity
      mutual funds, failing to monitor the fees and performance of those funds, and failing to monitor
      recordkeeping fees or negotiate revenue sharing rebates for Class Members. A more complete
      description of what Plaintiffs allege is in the Fourth Amended Complaint, which is available on the
      Settlement Website at [www.WEBSITE.com]. Plaintiffs’ separate claims for prohibited transactions
      have been dismissed by the Court.

      Defendants deny all claims of wrongdoing or liability against them and assert that they have always
      acted prudently and in the best interests of Plan participants and beneficiaries. Fidelity also believes
      the Plan provides a very generous benefit. Defendants are settling the Action solely to avoid the
      expense, inconvenience, and inherent risk and disruption of litigation.

           4. Why is there a Settlement?

      On March 27, 2020, the district court ruled that Defendants breached their duty of prudence under
      ERISA by failing to monitor certain of the mutual fund investments available to participants in the Plan
      and by failing to monitor Plan recordkeeping expenses. However, the district court has not decided
      in favor of either side in the case with respect to the remaining issues of loss and causation, and
      Defendants had the right to appeal the district court’s ruling. Instead, both sides agreed to a
      Settlement. That way, both sides avoided the cost and risk of additional trial proceedings, and the
      affected Class Members will get substantial benefits that they would not have received if Plaintiffs
      had litigated the remaining issues and lost, or had lost on appeal. The Named Plaintiffs and their
      attorneys believe the Settlement is in the best interests of the Class Members. Nothing in the
      Settlement Agreement is an admission or concession on Defendants’ part of any fault or liability
      whatsoever, but has been entered into to avoid the uncertainty, expense, and burden of additional
      litigation.
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                              WHO'S INCLUDED IN THE SETTLEMENT?
           5. How do I know if I am in the Settlement Class?

      The Court decided that everyone who fits this description is a member of the Class:

      All participants and beneficiaries of the FMR LLC Profit Sharing Plan or the Fidelity Retirement
      Savings Plan who, during the Class Period, (1) remained Plan participants or beneficiaries for any
      length of time, (2) ceased to be employed by a participating employer before or during the period of
      time that they remained in the Plan, and (3) did not receive any portion of the mandatory revenue
      credit contributed to the FMR LLC Retirement Savings Plan pursuant to § 5.1(e) of the 2014
      Restatement of the Plan (as amended) and §1.12(b)(3) of the 2017 Adoption Agreement for use with
      the Fidelity Basic Plan Document No. 17 for the Plan (as amended) issued by FMR LLC in any Plan
      year or portion of a Plan year in which they maintained a Plan account balance and were no longer
      employed by a participating employer.

      The Court has excluded from the Class the members of the FMR LLC Board of Directors and
      members of the FBIC and Retirement Committee during the Class Period.

      If you meet the definition above, you are a member of the Class.

                                     THE SETTLEMENT BENEFITS
           6. What does the Settlement provide?

      Fidelity has agreed to cause its insurers to pay $28,500,000 into a Qualified Settlement Fund to
      resolve the claims of Class Members. The Net Settlement Amount (after deduction of any Court-
      approved expenses associated with administering the Settlement, Attorneys’ Fees and Costs, and
      Service Awards to Named Plaintiffs) will be allocated to Class Members according to the Plan of
      Allocation set forth in the Settlement Agreement. Under the Plan of Allocation, monies will be
      distributed to Participant Class Members and Authorized Former Participant Class Members pro rata
      based on their account balances for the period of November 17, 2014 to June 30, 2020.

      In addition, the Settlement provides that prospectively: (1) one or more Plan fiduciaries will undertake
      to monitor Plan recordkeeping fees and (2) one or more Plan fiduciaries will undertake to monitor the
      Plan’s investment options, other than any investments available through the Plan’s self-directed
      brokerage account.

      Participant Class Members with a balance greater than $0.00 in their Plan account will automatically
      receive their share of the settlement proceeds through a deposit to their Plan account. However,
      because you are a Former Participant Class Member who no longer participates in the Plan
      (or you are a Beneficiary or an Alternate Payee of such a Former Participant Class Member),
      you must complete, sign, and mail a valid Former Participant Class Member Claim Form by
      [RETURN DATE SET FORTH IN PRELIMINARY APPROVAL ORDER] to be deemed an Authorized
      Former Participant and receive your share of the Settlement. The Former Participant Class Member
      Claim Form is included with this Notice. On the Former Participant Class Member Claim Form, you
      will be able to choose between receiving your share of the Settlement in the form of a check or through
      a rollover to a qualified retirement account. Former Participant Class Members must timely submit a
      Former Participant Class Member Claim Form to receive monetary compensation.

      All Class Members and anyone claiming through them will fully release the Plan as well as
      Defendants, Individual Committee Members, Individual Board Members, and the Released Parties
      from Plaintiffs’ Released Claims. The Released Parties include, but are not limited to, Defendants’

               QUESTIONS? CALL 1-800-[XXX-XXX] TOLL FREE, OR VISIT WWW.[WEBSITE].COM
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      past, present, and future parent corporation(s), and their past, present, and future affiliates,
      subsidiaries, divisions, joint ventures, predecessors, successors, successors-in-interest, and
      assigns, and any individual, partnership, corporation, governmental entity or any other form of entity
      or organization that controls, is controlled by, or is under common control with any of the foregoing.
      The Plaintiffs’ Released Claims include, but are not limited to, all claims that in any way arise out of,
      relate to, are based on, or have any connection with any of the allegations, acts, omissions, purported
      conflicts, representations, misrepresentations, facts, events, matters, transactions or occurrences
      that were asserted in the Action or could have been asserted in the Action. The Plaintiffs’ Released
      Claims also include those that relate to the direction to calculate, the calculation of, and/or the method
      or manner of allocation of the Net Settlement Fund pursuant to the Plan of Allocation and/or that
      relate to the approval by the Independent Fiduciary of the Settlement Agreement, unless brought
      against the Independent Fiduciary alone.

      This is only a summary of the Released Parties and Plaintiffs’ Released Claims, and is not a binding
      description of either. The governing releases are found within the Settlement Agreement at
      [www.settlementwebsite.com]. Generally, the release means that Class Members will not have the
      right to sue the Plan, Defendants, or related parties for conduct during the Class Period arising out of
      or relating to the allegations in the lawsuit. The entire Settlement Agreement is available at
      [www.settlementwebsite.com].


                                         HOW TO GET BENEFITS
           7. How do I get benefits?

      Whether you need to submit a claim form to receive your distribution depends on whether you are
      considered a “Participant Class Member” or a “Former Participant Class Member.” According to our
      records, you are a Former Participant Class Member. Therefore, you must return a valid, timely
      Former Participant Class Member Claim Form by [RETURN DATE SET FORTH IN
      PRELIMINARY APPROVAL ORDER] to receive your share of the Settlement. The Former
      Participant Class Member Claim Form is included with this Notice. On the Former Participant
      Class Member Claim Form, you will be able to choose between recieving your benefit in the form of
      a check or as a rollover. If you fill out a valid, timely Former Participant Class Member Claim Form,
      the benefits of the Settlement will be distributed as elected on your claim form once the Court
      approves the Settlement and the Settlement becomes effective.

           8. When will I get my payment?

      If you are a Former Participant Class Member (or a Beneficiary or Alternate Payee of such former
      participant) who timely submits a Former Participant Class Member Claim Form, the Settlement
      Administrator will, depending on your election, either (1) effect a rollover of your pro rata share of the
      settlement fund to your qualified retirement account selected in that Form within 21 days after the
      Settlement has received Final Approval and becomes effective or (2) issue a check to you within the
      same 21-day period. If you are a Former Participant Class Member (or a Beneficiary or Alternate
      Payee of such former participant) and you do not submit a Former Participant Class Member Claim
      Form by [DATE], you will forfeit your share of the Net Settlement Amount.

      All checks will expire and become void 120 days after they are issued, if they have not been cashed.
      These payments may have certain tax consequences; you should consult your tax advisor.

      There will be no payments under the Settlement if the Settlement Agreement is terminated.


               QUESTIONS? CALL 1-800-[XXX-XXX] TOLL FREE, OR VISIT WWW.[WEBSITE].COM
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                                 THE LAWYERS REPRESENTING YOU
            9. Who represents the Settlement Class?

      For purposes of the Settlement, the Court has appointed lawyers from the law firm of Nichols Kaster,
      PLLP and Block & Leviton LLP as Class Counsel. If you want to be represented by your own lawyer,
      you may hire one at your own expense. In addition, the Court appointed Named Plaintiffs Kevin
      Moitoso, Tim Lewis, Mary Lee Torline, and Sheryl Arndt to serve as the Class representatives. They
      are also Class Members.

      Subject to approval by the Court, Class Counsel has proposed that up to $10,000 may be paid to
      each of the Named Plaintiffs as the Class representatives in recognition of the time and effort they
      expended on behalf of the Class. The Court will determine the proper amount of any award to the
      Named Plaintiffs. The Court may award less than that amount.

            10. How will the lawyers be paid?

      From the beginning of the case, which was filed in October 2018, to the present, Class Counsel have
      not received any payment for their services in prosecuting the case or obtaining the Settlement, nor
      have they been reimbursed for any out-of-pocket expenses they have incurred. Class Counsel will
      apply to the Court for an award of reasonable attorneys' fees (not to exceed one-third of the settlement
      fund), plus their costs and expenses. Defendants have agreed not to object to such an application.
      The Court will determine the proper amount of any Attorneys' Fees and Costs to award Class
      Counsel.

      Any Attorneys' Fees and Costs awarded by the Court will be paid to Class Counsel from the
      settlement fund. The Class Members will not have to pay anything out-of-pocket toward the fees or
      costs of Class Counsel.

                                     YOUR RIGHTS AND OPTIONS
           11. What is the effect of Final Approval of the Settlement?

      If the Court grants Final Approval of the Settlement, a final order and judgment dismissing the case
      will be entered in the Action. Payments under the Settlement will then be processed and distributed.
      The release by Class Members will also take effect. No Class Member will be permitted to continue
      to assert Plaintiffs’ Released Claims in any other litigation against Defendants or the other persons
      and entities covered by the release, as described in Question No. 6.

      If you object to the terms of the Settlement Agreement, you may notify the Court of your objection.
      (See Table on page 2 of this Notice.) If the Settlement is not approved, the case will proceed as if no
      settlement had been attempted or reached. If the Settlement is not approved and the case resumes,
      there is no guarantee that Class Members will recover more than is provided for under the Settlement,
      or anything at all.

            12. What happens if I do nothing at all?

      If you do nothing, and the Settlement is approved, you will release any claims you may have against
      Defendants, Individual Board Members, Individual Committee Members, or the Released Parties
      concerning the conduct Plaintiffs allege in their complaint. (See Question No. 6.) You may also
      receive a payment as described in Question No. 6.

            13. How do I get out of the Settlement?

               QUESTIONS? CALL 1-800-[XXX-XXX] TOLL FREE, OR VISIT WWW.[WEBSITE].COM
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      If the Court approves the Settlement, you will be bound by it and will receive whatever benefits you
      are entitled to under its terms. You cannot exclude yourself from the Settlement, but you may notify
      the Court of your objection to the Settlement. (See Question No. 15.) If the Court approves the
      Settlement, it will do so under Federal Rule of Civil Procedure 23(b)(1), which does not permit Class
      Members to opt out of the Class.

           14. Can I sue Fidelity for the same thing later?

      No. If the Court approves the Settlement, you will have given up any right to sue Fidelity or any of the
      Released Parties for the Plaintiffs’ Released Claims.

            15. How do I object to the Settlement?

      You can object to the Settlement if you don't like any part of it. If you object, you must give the reasons
      why you think the Court should not approve the Settlement. The Court will consider your views. Your
      objection to the Settlement must be postmarked no later than [OBJECTION DEADLINE, 2020] and
      must be sent to the attorneys for the Parties at the addresses below:

                          Class Counsel                       Defendants’ Counsel
                     Kai Richter                        Alison V. Douglass
                     Paul Lukas                         John J. Falvey, Jr.
                     NICHOLS KASTER, PLLP               GOODWIN PROCTER LLP
                     4600 IDS Center                    100 Northern Avenue
                     80 S 8th Street                    Boston, MA 02210
                     Minneapolis, MN 55402

      The objection must be in writing and should include the case name Moitoso, et al. v. FMR LLC, et al.,
      Civil Action No. 1:18-cv-12122-WGY; as well as include your (a) name; (b) address; (c) a statement
      that you are a member of the Settlement Class; (d) the specific grounds for the objection (including
      all arguments, citations, and evidence supporting the objection); (e) all documents or writings that
      you desire the Court to consider (including all copies of any documents relied upon in the objection);
      (f) your signature; and (g) a notice of intention to appear at the Fairness Hearing (if applicable).
      (If you are represented by counsel, you or your counsel must file your objection through the Court's
      CM/ECF system.) The Court will consider all properly filed comments from Class Members. If you
      wish to appear and be heard at the Fairness Hearing in addition to submitting a written objection to
      the Settlement, you or your attorney should say so in your written objection.

      Class Counsel will file with the Court their request for Attorneys' Fees and Costs at least two weeks
      prior to [OBJECTION DEADLINE, 2020], and post it on the Settlement Website.

                                  THE COURT'S FAIRNESS HEARING
            16. When and where will the Court hold a hearing on the fairness of the
                Settlement?

      A Fairness Hearing has been set for [DATE] at [TIME], before The Honorable William G. Young at
      the John Joseph Moakley U.S. Courthouse, 1 Courthouse Way, Boston, Massachusetts 02210 in
      [COURTROOM]. At the hearing, the Court will hear any comments, objections, and arguments
      concerning the fairness of the proposed Settlement, including the amount requested by Class
      Counsel for Attorneys' Fees and Costs and the Service Awards to the Named Plaintiffs as the Class
      representatives. You do not need to attend this hearing. You also do not need to attend to have an
      objection considered by the Court. (See Question No. 15.)
               QUESTIONS? CALL 1-800-[XXX-XXX] TOLL FREE, OR VISIT WWW.[WEBSITE].COM
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      Note: The date and time of the Fairness Hearing are subject to change by Court Order, but any
      changes will be posted at [www.[website].com].

            17. Do I have to come to the Fairness Hearing?

      No. Class Counsel will answer any questions the Court may have. But you are welcome to come at
      your own expense. If you send an objection, you don't have to come to Court to talk about it. As long
      as any written objection you choose to make was filed and mailed on time and meets the other criteria
      described in the Preliminary Approval Order, the Court will consider it. You may also pay another
      lawyer to attend, but you don't have to.

            18. May I speak at the hearing?

      You may ask the Court for permission to speak at the hearing concerning any part of the proposed
      Settlement by following the instructions in Question No. 15 above.

                                   GETTING MORE INFORMATION
            19. Where can I get additional information?

      This notice provides only a summary of the matters relating to the Settlement. For more detailed
      information, you may wish to review the Settlement Agreement. You can view the Settlement
      Agreement and get more information at [WWW.WEBSITE.COM]. You can also get more information
      by writing to the Settlement Administrator at [ ] or calling toll-free [ ].

                     PLEASE DO NOT CONTACT THE COURT, THE JUDGE, OR FIDELITY WITH
                                  QUESTIONS ABOUT THE SETTLEMENT.




               QUESTIONS? CALL 1-800-[XXX-XXX] TOLL FREE, OR VISIT WWW.[WEBSITE].COM
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             EXHIBIT 3
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                                                    Fidelity Retirement Savings Plan Settlement Administrator
                                                                        P.O. Box [number]
                                                                         [City, State, ZIP]
                                                                   [www.settlementwebsite.com]

                                                      FORMER PARTICIPANT CLASS MEMBER CLAIM FORM


            JOHN Q CLASSMEMBER                                                      Claim Number: 1111111
            123 MAIN ST APT 1
            ANYTOWN, ST 12345

The Court has preliminarily approved the class settlement in Moitoso, et al. v. FMR LLC, et al., Civil Action No. 1:18-cv-12122-WGY (D. Mass.). That Settlement provides
allocation of monies to certain Class Members who participated in the Fidelity Retirement Savings Plan (“Plan”) at any time between November 17, 2014 and the date of the final
approval of the class settlement by the court. As a Former Participant Class Member, you must timely complete and return this form to the Settlement Administrator to
receive your share of the settlement proceeds. For more information about the Settlement, please see the Notice Of Class Action Settlement And Fairness Hearing, visit
[www.settlementwebsite.com], or call [phone number].

This Former Participant Class Member Claim Form is ONLY for Class Members who are Former Participant Class Members, or the Beneficiaries or Alternate Payees of Former
Participant Class Members (all of whom will be treated as Former Participant Class Members). A Former Participant Class Member is a Class Member who had a Plan account
with a balance greater than $0.00 at any point during the Class Period but did NOT have a Plan account with a balance greater than $0.00 as of the date of [the Preliminary
Approval Order].

This claim form must be completed, signed and mailed with a postmark on or before [RETURN DATE SET FORTH IN PRELIMINARY
APPROVAL ORDER] in order for you receive your share of the Settlement proceeds. Former Participant Class Members who do
not complete and timely return this form will not receive any Settlement payment, but will have released Plaintiffs’ Released
Claims. Your completed claim form should be sent to the Settlement Administrator at the following address:
                                                             Fidelity Retirement Savings Plan Settlement Administrator
                                                                     P.O. Box [number] [City, State, ZIP]
Because you are a former participant in the Plan, you must decide whether you want your payment (1) sent payable to you directly by check or (2) to be rolled over into another
eligible employer plan or into an individual retirement account (“IRA”). To make your election, please follow the instructions below. If you timely complete and submit this Former
Participant Class Member Claim Form but do not indicate a payment election, your payment will be sent to you directly by check.

Please review the instructions below carefully. If you have questions regarding this Former Participant Class Member Claim Form, you may contact the Settlement Administrator
as indicated below.


                                                       WWW.SETTLEMENTWEBSITE.COM OR CALL [PHONE NUMBER]

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 PART 1: INSTRUCTIONS FOR COMPLETING FORMER PARTICIPANT CLASS MEMBER CLAIM FORM

1.   Complete this claim form and keep a copy of all pages of your Former Participant Class Member Claim Form, including the first page with the address label, for your records.

2.   Mail your completed Former Participant Class Member Claim Form postmarked on or before [RETURN DATE SET FORTH IN PRELIMINARY APPROVAL ORDER] to
     the Settlement Administrator at the following address:

                                                                    Fidelity Retirement Savings Plan Settlement Administrator
                                                                           P.O. Box [number] [City, State, ZIP]

     It is your responsibility to ensure the Settlement Administrator has timely received your Former Participant Class Member Claim Form.

3.   Other Instructions:

     •   You must provide date of birth, signature, and a completed Substitute IRS Form W-9, which is attached as part 5 to this form.

     •   If you timely complete and return this form but fail to make a payment election in Part 4, below, payment will be made to you by check.

     •   If you change your address after sending in your Former Participant Class Member Claim Form, please provide your new address to the Settlement Administrator.

     •   Timing of Payments to Eligible Class Members. The timing of the distribution of the Settlement payments are conditioned on several matters, including the Court’s final
         approval of the Settlement and any approval becoming final and no longer subject to any appeals in any court. An appeal of the final approval order may take several
         years. If the Settlement is approved by the Court, and there are no appeals, the Settlement distribution likely will occur within three months of the Court's Final Approval
         Order.

4.   Questions? If you have any questions about this Former Participant Class Member Claim Form, please call the Settlement Administrator at [phone number]. The Settlement
     Administrator will provide advice only regarding completing this form and will not provide financial, tax or other advice concerning the Settlement. You therefore may want to
     consult with your financial or tax advisor. Information about the status of the approval of the Settlement and the Settlement administration is available on the settlement website,
     [www.settlementwebsite.com].




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 PART 2: PARTICIPANT INFORMATION




                         [FORMER PARTICIPANT CLASS MEMBER CLAIM FORM CONTINUES ON THE NEXT PAGE]



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PART 3: BENEFICIARY OR ALTERNATE PAYEE INFORMATION (IF APPLICABLE)

   Check here if you are the surviving spouse or other beneficiary for the Former Participant Class Member and the Former Participant Class Member is deceased.
    Documentation must be provided showing current authority of the representative to file on behalf of the deceased. Please complete the information below and then
    continue on to Parts 4 and 5 on the next page.

  Check here if you are an alternate payee under a qualified domestic relations order (QDRO). The Settlement Administrator may contact you with further instructions. Please
   complete the information below and then continue on to Parts 4 and 5 on the next page.




                                        [FORMER PARTICIPANT CLASS MEMBER CLAIM FORM CONTINUES ON THE NEXT PAGE]

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PART 4: PAYMENT ELECTION

         Payment to Self – A check subject to mandatory federal and applicable state withholding tax will be mailed to your
         address on the previous page.

         Direct Rollover to an Eligible Plan – Check only one box below and complete the Rollover Information Section below:
           Government 457(b)                                                                                                  403(b)
                                                             401(a)/401(k)
          Direct Rollover to a Traditional IRA               Direct Rollover to a Roth IRA (subject to ordinary income tax)

  Rollover Information:
  Company or Trustee’s Name (to whom the check should be made payable)




PART 5: SIGNATURE, CONSENT, AND SUBSTITUTE IRS FORM W-9

UNDER PENALTIES OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF AMERICA, I CERTIFY THAT ALL OF THE INFORMATION PROVIDED ON THIS FORMER
PARTICIPANT CLASS MEMBER CLAIM FORM IS TRUE, CORRECT, AND COMPLETE AND THAT I SIGNED THIS FORMER PARTICIPANT CLASS MEMBER CLAIM FORM.

1.   The Social Security number shown on this form is my correct taxpayer identification number (or I am waiting for a number to be issued to me); and

2.   I am not subject to back up withholding because: (a) I am exempt from backup withholding, or (b) I have not been notified by the Internal Revenue Service (IRS) that I am
     subject to backup withholding as a result of a failure to report all interest or dividends, or (c) the IRS has notified me that I am no longer subject to backup withholding; and

3.   I am a U.S. person (including a U.S. resident alien).
                                                                                               M M       D D       Y Y Y Y


Participant Signature                                                                     Date Signed (Required)
 Note: If you are subject to backup withholding, you must cross out item 2 above. The IRS does not require your consent to any provision of this document other than this Form
 W-9 certification to avoid backup withholding.
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             EXHIBIT 4
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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

  Kevin Moitoso, Tim Lewis, Mary Lee Torline, and          Case No. 1:18-cv-12122-WGY
  Sheryl Arndt, individually and as representatives of
  a class of similarly situated persons, and on behalf
  of the Fidelity Retirement Savings Plan,
                                                                 [PROPOSED] ORDER
                            Plaintiffs,
                                                             PRELIMINARILY APPROVING
  v.
                                                             CLASS ACTION SETTLEMENT,
                                                             APPROVING PROCEDURE AND
  FMR LLC, the FMR LLC Funded Benefits                          FORM OF NOTICE, AND
  Investment Committee, the FMR LLC Retirement
                                                            SCHEDULING FINAL APPROVAL
  Committee, Fidelity Management & Research
                                                                     HEARING
  Company, FMR Co., Inc., and Fidelity Investments
  Institutional Operations Company, Inc.,

                            Defendants.



         This matter having come before the Court on Plaintiffs’ Motion for preliminary approval

(the “Motion For Preliminary Approval”) of a proposed class action settlement of the above-

captioned action (the “Action”) between Plaintiffs Kevin Moitoso, Tim Lewis, Mary Lee Torline,

and Sheryl Arndt, individually and on behalf of Class, the Class Members, and the Fidelity

Retirement Savings Plan (the “Plan”) (the “Plaintiffs”), and Defendants FMR LLC, the FMR LLC

Funded Benefits Investment Committee, the FMR LLC Retirement Committee, Fidelity

Management & Research Company, FMR Co., Inc., and Fidelity Investments Institutional

Operations Company, Inc., (collectively, “Defendants”), as set forth in the Parties’ Class Action

Settlement Agreement (the “Settlement Agreement”), and having duly considered the papers and

arguments of counsel, the Court hereby finds and orders as follows:

                     1.   The Court has read and considered the Settlement Agreement, including its

Exhibits, and having heard from the Parties hereby preliminarily approves the Settlement




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Agreement in its entirety. Unless defined herein, all defined terms in this Order shall have the

meanings ascribed to them in the Settlement Agreement.

                     2.   The Court has conducted a preliminary evaluation of the Settlement as set

forth in the Settlement Agreement for fairness, adequacy, and reasonableness. Based on this

preliminary evaluation, the Court finds that there is cause to believe that (i) the Settlement

Agreement is fair, reasonable, and adequate, and within the range of possible approval, (ii) the

Settlement Agreement has been negotiated in good faith at arms-length between experienced

attorneys familiar with the legal and factual issues of this case, (iii) the form of notice of the

Settlement and of the Fairness Hearing is appropriate and warranted; and (iv) the Settlement meets

all applicable requirements of law, including Federal Rule of Civil Procedure 23, and is not a

coupon settlement for purposes of 28 U.S.C. § 1712. The Settlement Agreement and this Order,

collectively or individually, are not a finding or admission of liability by Defendants or any other

party.

                     3.   The Class has been previously certified (ECF No. 83) and consists of:

          All participants and beneficiaries of the FMR LLC Profit Sharing Plan or the
          Fidelity Retirement Savings Plan who, during the Class Period, (1) remained Plan
          participants or beneficiaries for any length of time, (2) ceased to be employed by a
          participating employer before or during the period of time that they remained in the
          Plan, and (3) did not receive any portion of the mandatory revenue credit
          contributed to the FMR LLC Retirement Savings Plan pursuant to § 5.1(e) of the
          2014 Restatement of the Plan (as amended) and §1.12(b)(3) of the 2017 Adoption
          Agreement for use with the Fidelity Basic Plan Document No. 17 for the Plan (as
          amended) issued by FMR LLC in any Plan year or portion of a Plan year in which
          they maintained a Plan account balance and were no longer employed by a
          participating employer.

Excluded from the Class are Individual Board Members and Individual Committee Members.

                     4.   Named Plaintiffs Kevin Moitoso, Tim Lewis, Mary Lee Torline, and Sheryl

Arndt have been previously appointed as Class Representatives. ECF No. 83.


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                     5.   Nichols Kaster, PLLP, and Block & Leviton LLP have been previously

appointed as Class Counsel. ECF No. 83.

                     6.   On [date at least 160 days from the date of preliminary approval] at [time],

in courtroom [ ] of the John Joseph Moakley U.S. Courthouse, 1 Courthouse Way, Boston,

Massachusetts 02210, this Court will hold a hearing on the fairness, adequacy, and reasonableness

of the Settlement Agreement and to determine whether (i) final approval of the Settlement should

be granted, and (ii) Class Counsel’s application for attorneys’ fees and expenses, and service

awards to Plaintiffs, should be granted, and in what amount. 1 No later than fourteen (14) days

prior to the deadline for Class Members to object to the Settlement Agreement, Class Counsel shall

file an application for attorneys’ fees and expenses, and for Service Awards to the Named

Plaintiffs. No later than [date 14 days prior to Fairness Hearing], Plaintiffs shall file papers in

support of Final Approval of the Settlement Agreement and in response to any written objections.

Defendants may (but are not required to) also file papers in support of Final Approval of the

Settlement Agreement, so long as they do so no later than [date 7 days prior to the Fairness

Hearing].

                     7.   Pursuant to the Settlement Agreement, Analytics Consulting LLC is hereby

appointed the Settlement Administrator and shall be required to perform all the duties of the

Settlement Administrator as set forth in the Settlement Agreement and this Order. Analytics

Consulting LLC, or its designee, is additionally appointed the Escrow Agent and shall be required

to perform all the duties of the Escrow Agent as set forth in the Settlement Agreement and this

Order.



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 Any change in the date, time, location, or format of the hearing shall be posted on the Settlement
Website.

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                     8.   The Court approves the proposed Notices as a means of giving direct notice

to Class Members by mail and also by establishing a Settlement Website, as more fully described

in the Settlement Agreement. Former Participant Class Members will additionally receive the

Former Participant Class Member Claim Form. The Court finds that the proposed Notices and

content therein fairly and adequately:

                          a.     Summarize the claims asserted;

                          b.     Describe the terms and effect of the Settlement

                          c.     Notify the Class that Class Counsel will seek compensation from the

                          Qualified Settlement Fund for Attorneys’ Fees, Costs, Administrative

                          Expenses, and Service Awards;

                          d.     Give notice to the Class of the time and place of the Fairness

                          Hearing, and of Class Members’ right to appear; and

                          e.     Describe how the recipients of the Notices may object to the

                          Settlement, or any requested Attorneys’ Fees, Costs, Administrative

                          Expenses, or Service Awards.

                     9.   No later than thirty-five (35) calendar days following the entry of this

Preliminary Approval Order, the Settlement Administrator shall cause the Settlement Website to

be published on the Internet. No later than thirty-five (35) calendar days following the entry of

this Preliminary Approval Order and in accordance with the terms of the Settlement Agreement,

the Settlement Administrator also shall disseminate the Notice that is Exhibit 1 to the Settlement

Agreement via first class mail to the Participant Class Members and the Notice and Former

Participant Class Member Claim Form that are Exhibits 2 and 3 to the Settlement Agreement via

first class mail to the Former Participant Class Members. Former Participant Class Members must



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file a Former Participant Class Member Claim Form with the Settlement Administrator by a date

no later than ten (10) calendar days before the Fairness Hearing in order to be considered for a

distribution pursuant to the Plan of Allocation.

                     10.   Pursuant to Rules 23(c)(2) and (e) of the Federal Rules of Civil Procedure,

the contents of the Notices and mailing the Notices constitutes the best notice practicable under

the circumstances, provides due and sufficient notice of the Fairness Hearing and of the rights of

all Class Members, and complies fully with the requirements of Fed. R. Civ. P. 23 and due process.

                     11.   Any Class Member may comment in support of or in opposition to the

Settlement Agreement; provided, however, that all comments and objections shall only be

considered by the Court at the Fairness Hearing if they have been timely sent to Class Counsel and

Defendants’ Counsel. To be timely, the comment and/or objection and any supporting documents

must be mailed or otherwise delivered to Class Counsel and Defendant’s Counsel by twenty-one

(21) days prior to the date of the Fairness Hearing. A Class Member who objects to the Settlement

need not appear at the Fairness Hearing for the Class Member’s comment to be considered by the

Court. All objections from Class Members must include in the written objection the Class

Member’s name and address; state that the person submitting the objection is a Class Member;

state the specific grounds for the objection; include all arguments, citations, and evidence

supporting the objection (including copies of any documents relied on); provide a physical

signature for the objecting Class Member; and provide a statement indicating whether the objector

intends to appear at the Fairness Hearing.

                     12.   Class Counsel shall file any objections to any aspect of the Settlement with

the Court as part of their motion for Final Approval of the Settlement.




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                     13.   Any party may file a response to an objection by a Class Member at least

seven (7) calendar days before the Fairness Hearing.

                     14.   Any Class Member who fails to object in the manner prescribed herein shall

be deemed to have waived such Class Member’s objections and forever be barred from making

any such objections in this Action or in any other action or proceeding.

                     15.   Each Class Member and such Class Member’s respective heirs,

beneficiaries, executors, administrators, estates, past and present partners, officers, directors,

agents, attorneys, predecessors, successors, and assigns, is preliminarily enjoined from suing

Defendants, Individual Board Members, Individual Committee Members, the Plan, or the Released

Parties in any action or proceeding alleging any of the Plaintiffs’ Released Claims, even if any

Class Member may thereafter discover facts in addition to or different from those which the Class

Members or Class Counsel now know or believe to be true with respect to the Action and the

Plaintiffs’ Released Claims. Further, pending final determination of whether the Settlement

Agreement should be approved, no Class Member may directly, through representatives, or in any

other capacity, commence any action or proceeding in any court or tribunal asserting any of the

Plaintiffs’ Released Claims against the Defendants, Individual Board Members, Individual

Committee Members, the Plan, or Released Parties.

                     16.   The Settlement Agreement and the proceedings and statements made

pursuant to the Settlement Agreement or papers filed relating to the approval of the Settlement

Agreement, and this Order, are not and shall not in any event be construed as, offered in evidence

as, received in evidence as, and/or deemed to be evidence of a presumption, concession, or an

admission of any kind by any of the Parties of (i) the truth of any fact alleged or the validity of any

claim or defense that has been, could have been, or in the future might be asserted in the Action,



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any other litigation, court of law or equity, proceeding, arbitration, tribunal, investigation,

government action, administrative proceeding, or other forum, or (ii) any liability, responsibility,

fault, wrongdoing, or otherwise of the Parties or a Released Party. Defendants have denied and

continue to deny the claims asserted by Plaintiffs. Nothing contained herein shall be construed to

prevent the Parties from offering the Settlement Agreement into evidence for the purposes of

enforcement of the Settlement Agreement.

                     17.   In the event that the Settlement Agreement is terminated pursuant to its

terms or is not approved in all material respects by the Court, or such approval is reversed, vacated,

or modified in any material respect by this or any other court, then the Parties and Class Members

will be restored to their respective positions immediately before the execution of the Settlement

Agreement, this Action shall proceed in all respects as if the Settlement Agreement and any related

orders had not been entered, any order entered by the Court pursuant to the terms of the Settlement

Agreement shall be treated as vacated nunc pro tunc, and no reference to the Settlement

Agreement, or any documents, communications, or negotiations related in any way thereto shall

be made for any purpose.

         IT IS SO ORDERED this ____day of _________, 2020.




                                                William G. Young
                                                United States District Judge




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